         Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 1 of 54



UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

______________________________________
                                                      :
JOHN DOE                                              :
                                                      :
               Plaintiff,                             : Civil Action No.: 3:17-CV-00364-JBA
                                                      :
                                                      :
V.                                                    :
                                                      :
QUINNIPIAC UNIVERSITY, TERRI                          :
JOHNSON, SEANN KALAGHER,                              :
AND VINCENT CONTRUCCI                                 :
                                                      :
            Defendants                                : January 22, 2019
_____________________________________                 :

                             LOCAL RULES 56(a)(2) STATEMENT

     1. The plaintiff, John Doe was a male student at Quinnipiac University from the fall of 2014
        until his graduation in May of 2017. (Complaint ¶ 2).

        RESPONSE Admit.

     2. The defendant, Quinnipiac University is a private university of higher education located in
        Hamden, Connecticut. Quinnipiac University is the beneficiary of financial funds with the
        meaning of Title IX. (Complaint ¶ 3).

        RESPONSE: Admit.

     3. The defendant, Terri Johnson was employed by Quinnipiac University as its Associate Dean
        of Student Affairs and Deputy Title IX Coordinator for Students. (Complaint ¶ 4).

        RESPONSE: Deny. Johnson was employed by QU as Associate VP of Operations and
        University T-9 Coordinator. (Ex. 14, p. 7, 2).

     4. The defendant, Kalagher was employed by Quinnipiac University as its Associate Dean of
        Student Affairs and Deputy Title IX Coordinator for Students. (Complaint ¶ 5).

        RESPONSE: Admit Kalagher was responsible for the Title IX process regarding students,
        directly supervised Buda and is the institutional 30(b)(6) designee. Ex. 3 (SK), pp. 1; 55, 4-9;
        79, 1-19; Ex. 2 (TJ), p. 141, 5-17.
    Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 2 of 54



5. The defendant, Vincent Contrucci was employed by Quinnipiac University as its Director,
   Office of Community Service. (Complaint ¶ 6).

   RESPONSE:        Admit.

6. The 2015-2016 QU Title IX policy is applicable. (See Exhibit A).

   RESPONSE: Admit. (hereinafter “T9 Policy,” Pl. Ex. 14.).

7. The 2015-2016 QU Student Handbook is applicable. (See Exhibit B).

   RESPONSE: Admit that it is Exhibit C (hereinafter “Code,” Pl. Ex. 61).

8. The QU Guidelines and Procedures for Students with Disabilities (“ADA”) is applicable. (See
   Exhibit C).

   RESPONSE: Admit that it is exhibit B, (hereinafter referred to as “ADA Policy”, Pl Ex. 50).

9. The plaintiff, John Doe was a student at Quinnipiac University from the spring of 2014 until
   he graduated in May 2017. (Exhibit D, Pl’s Depo Tran. p. 38: 2-3; p. 43: 15-16).

   RESPONSE: Admit.

10. The plaintiff was involved in a relationship with Jane Roe 2 from approximately May 2014
    through January 2015. (Complaint ¶ 43).

   RESPONSE: Admit. Ex. 1 (VC), p. 194, 3-22.

11. Jane Roe 2 graduated in May 2015 and has resided in Boston. (Complaint ¶ 45).

   RESPONSE: Admit.

12. The plaintiff was involved in a relationship with Jane Roe from approximately January 2015
    through June 2016. (Complaint ¶ 43).

   RESPONSE: Admit.

13. On approximately June 28, 2016, Jane Roe made a Title IX complaint with QU alleging that
    the plaintiff verbally and physically abused her. She also indicated that the plaintiff had also
    verbally abused his previous girlfriend, Jane Roe 2. (See Title IX Investigation Report,
    Exhibit No. 1 and made part of Amended Complaint, filed at 3: 17cv364, Docket No. 11, p.
    1; Complaint ¶ 47).

   RESPONSE: Admit one hour after Doe broke up with Roe, Roe provided information to QU
   Public Safety (hereinafter “PS”) and a QU RA who recognized included possible violations
   of T9 and reported it to Kalagher. Kalagher met with Roe and determined there was

                                             2
        Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 3 of 54



       reasonable cause to investigate and immediately began a formal investigation. Ex. 1 (VC),
       pp. 91, 4-25; 92, 1-25; 93, 12-25; 95, 6-25; 96, 1-6, 19-23; 101, 7-25; 102, 1-20; Ex. 4 (AH),
       pp. 19-25; 244, 1-25; 246, 1-25; Ex. 86, p. 3; Ex. 15; Ex. 86, DCxii, D; Ex. 130, ¶14; Ex. 83.1

   14. The Quinnipiac University investigators, Vincent Contrucci and Audrey Heins (hereinafter
       “investigators”) interviewed Jane Roe on July 12, 2016, July 28, 2016, October 14, 2016 and
       October 19, 2016.

       RESPONSE: Admit investigator met with Roe on those dates but deny characterization.
       July 12 and July 28 were interviews as part of the investigation. October 14th and 19th were
       findings meeting after the investigation was closed. Ex. 86, pp. 72-73; Ex. 1 (VC), pp. 456, 1-
       11; 463, 13-25; 464, 1-25; 465, 1-4; Ex. 16.

   15. The investigators interviewed Jane Roe 2 on July 18, 2016, October 14, 2016, and October
       19, 2016. (See Title IX Investigation Report, Exhibit No. 1 and made part of Amended
       Complaint, filed at 3: 17cv364, Docket No. 11, p. 1).

       RESPONSE: Admit investigator met with Roe2 on those dates but deny characterization.
       July 12th and July 18th were interviews as part of the investigation. October 14th and 19th were
       findings meeting after the investigation was closed. Ex. 86, pp. 72-73; Ex. 1 (VC), pp. 456,
       1-11; 478, 1-25; 479, 1-16; Ex. 17.

   16. Jane Roe 2 did not file a formal complaint, rather QU investigators moved forward with a
       complaint on her behalf after they interviewed her. (Complaint ¶ 52).

       RESPONSE: Admit in her interview as a witness, Roe2 provided information that included
       possible violations of T9 against Doe to the investigators, who reported it to SK immediately
       and instructed them to investigate which they did after opening an administrative complaint
       for Roe2. Ex. 86; Ex. 18; Ex. 2 (TJ), pp. 126, 14-25; 127, 1-20; Ex. 5 (CM), pp. 192, 21-25;
       193, 1-9; Ex. 9 (SF), pp. 250, 1-11; Ex. 6 (MB), pp. 262, 12, 2-5; 263, 1-21; Ex. 4 (AH), pp.
       203, 3-25; 308, 13-25; 309, 1-25; 310, 1-25; 311, 1-25; 312, 1-13; 313, 8-22; 314, 1-24; Ex.
       1 (VC), pp. 196, 13-25; 198, 1-25; 199, 1-22; 206, 15-23; 218, 1-25; 219, 1-16; Ex. 3 (SK),
       pp. 219, 3-25; 258 6-25. Ex. 86, p. Jiii.

   17. On August 22, 2016, the investigators notified John Doe via email that they were
       investigating a Title IX complaint and requested to meet with him to review the process, ask
       him questions and answer his questions. He was also informed that he could bring another
       person with him to the meeting that was not involved in the investigation. Also attached to
       the meeting request was a no contact order, which requested that he not contact Jane Roe, Jane
       Roe 2 and another student, A.S. (See Title IX Investigation Report, Exhibit No. 1 and made
       part of Amended Complaint, filed at 3: 17cv364, Docket No. 11, T-IX Doc C).


       1
        Plaintiff refers to the Title IX Investigation Report, Exhibit No. 1 and made part of Amended
Complaint, filed at 3: 17cv364, Docket No. 11, p. 1; Complaint ¶ 47 a as “RR” and it is Ex. 86.



                                                 3
    Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 4 of 54



   RESPONSE: Admit. The No Contact Orders (“NCO’s”) were mutual. Ex. 19; Ex. 20; Ex. 3
   (SK), pp. 266, 24-25; 267, 1-2.

18. The investigators interviewed John Doe on August 23, 2016 with an attorney present as his
    adviser. They also interviewed him on August 26, 2016, August 31, 2016, September 28,
    2016 and October 25, 2016, and November 1, 2016. (See Title IX Investigation Report,
    Exhibit No. 1 and made part of Amended Complaint, filed at 3: 17cv364, Docket No. 11, p.
    1).

   RESPONSE: Admit investigator met with Doe on those dates but deny characterization.
   August 26th, August 31st and September 28th were interviews as part of the investigation.
   October 25th and November 1st were findings meeting after the investigation was closed. (Ex.
   86, pp. 73-74; Ex. 1 (VC), p. 456, 1-11; Ex. 21).

19. Between July 12, 2016 and October 5, 2016, the investigators interviewed eighteen
    individuals. It is typical for the investigators to interview a Complainant, witnesses and then
    the Respondent. (See Title IX Investigation Report, Exhibit No. 1 and made part of Amended
    Complaint, filed at 3: 17cv364, Docket No. 11, p. 1; See also Exhibit E, .Depo Tran., Vol. II,
    p. 359: 24-25; p. 360.

   RESPONSE: Admit first sentence. Investigators interviewed Roe and Roe2 and all but one
   of their witnesses (13) before interviewing Doe. Deny it is a typical order of interviewing.
   Investigators in INV2 interviewed the Complainant, then Respondent, and then the witness.
   Ex. 86, pp. 1-2, 7-50; Ex. 7 (KK), p. 196, 9-23; Ex. 12 (LC), p. 188, 9, 21-23; Ex. 5 (CM), pp.
   132, 12-25; 133, 1-14. Ex. 60.

20. The investigators listened to John Doe’s father, even though he was an adviser and did not
   have a speaking role. If his father had provided information that the investigators believed
   was relevant, then it would have been included in the report. (Exhibit E,.Depo Tran., Vol. II,
    p. 415: 1-6).

   RESPONSE: Admit first sentence. Deny the second sentence; Doe’s father provided
   relevant information at Doe’s interviews. Investigator did not interview him or include that
   information in the RR. Investigators are required to put relevant information in the RR. Ex.
   3 (SK), pp. 261, 1-20; 268, 11-25; 270, 1-70; Ex. 4 (AH), pp. 133, 6-16; 366, 12-25; Ex. 1
   (VC), pp. 414, 23-25; 415, 1-22; 419, 17-22; Ex. 132, ¶5; Ex. 130, ¶¶22-23; Ex. 22, p. 21.

21. John Doe’s mother provided information to the investigators about the nature of John Doe and
    Jane Roe’s relationship and it was included within the report because the investigators found
    it relevant. (Exhibit E, Depo Tran., Vol. II, p. 416: 24-25; p. 417: 9-12).

   RESPONSE: Admit, the information from Doe’s mother was in an email from her and
   included in an appendix. Doe’s mother was not interviewed in this investigation (hereinafter
   “INV1”) even though she had additional relevant information. Ex. 23; Ex. 1 (VC), pp. 416,
   14-25; 417, 1-25; 418, 1-16; Ex. 3 (SK), p. 268, 11-25; Ex. 4 (AH), pp. 353, 8-25; 354; 355;
   356, 1-25; Ex. 131, ¶¶4-5.

                                             4
    Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 5 of 54




22. The investigators interviewed Jane Roe’s mother because she told them that she had pictures
    of her daughter’s neck after John Doe allegedly grabbed her daughter by the neck. (Exhibit
    E, VC Depo Tran., Vol. II, p. 308: 13-15 and 19-23).

   RESPONSE: Admit that the investigators interviewed Roe’s mother. Deny remainder.
   Roe’s mother was interviewed because Roe “had indicated that [her] mother had been
   contacted by [Doe] on a number of occasions during your relationship.” Ex. 24; Ex. 86, Dvii.

23. John Doe informed investigators that Jane Roe’s friends had been contacting him indirectly
    through his friends and harassing him about the ongoing investigation. He believed that it
    was a breach of confidentiality surrounding the investigation and the no contact order issued
    to Jane Roe on August 19, 2016. (Complaint ¶ 55).

   RESPONSE: Admit. Doe told investigators in August 2016. Investigators told Doe and his
   father there was nothing they could do about it and did not contact one of Roe’s friends after
   Doe provided her name as they said they would. Ex. 25; Ex. 86, p. 70; Ex. 1 (VC), pp. 421,
   8-25; 422, 1-25; 423, 1-25; Ex. 130, ¶¶19-20.

24. The Investigators can ask students to be respectful of others privacy and respectful of the
    process and they ask students not to speak about the investigation openly, but students are not
    barred from speaking about investigations. (Exhibit E, VC Depo Trans., Vol. I, p. 231, 8-11;
    p. 232: 11-17; p. 534: 16-19; See also Exhibit F).

   RESPONSE: Admit first part but deny “students are barred from speaking about
   investigations.” Students are prohibited from engaging in harassment, retaliation or a
   violation of a no contact order (“NCO”). Ex. 14, p. 5; Ex. 27.

25. The investigators investigated John Doe’s complaints against Jane Roe and Jane Roe 2. They
    questioned John Doe, Jane Roe and Jane Roe2. The investigators could not corroborate John
    Doe’s allegations. John Doe never provided individuals that the investigators could speak
    with or that corroborated the allegations. The investigators made the determination that there
    was nothing that needed to be investigated, reinvestigated or new charges brought. (Exhibit
    E, VC Depo Tran., Vol. II, p. 531: 7-25; p. 534: 1-15; Exhibit F, SK Depo. Tran., p. 301: 20-
    25; p. 304: 8-21).

   RESPONSE: Deny first sentence. Admit second sentence. As part of his defense to the
   charge of Intimate Partner Violence (“IPV”), Doe provided information in his three interviews
   in INV1 to show that Roe and Roe2 were not afraid of or intimidated or controlled by Doe.
   That information included possible T9 violations by Roe and Roe2. The investigators did not
   report the possible T9 violation, open an administrative complaint against Roe or Roe2, or
   interview Roe or Roe2 after Doe was interviewed to investigate these claims. Doe’s
   allegations were corroborated by Roe and Roe2’s statements and by the evidence provided by
   Doe. Doe provided his parents and other witnesses that were interviewed and Roe and Roe2
   were available to be interviewed. It is the investigator’s responsibility to identify witnesses
   and discover facts and gather evidence. Ex. 86, pp. 52-78; 6; Ex. 40; Ex. 22, p. 6-19; Ex. 6

                                             5
    Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 6 of 54



   (MB), p. 264, 8-24; Ex. 4 (AH), p. 418, 6-25; Ex. 5 (CM), pp. 264, 23-25; 265, 1-25; Ex. 2
   (SK), pp. 208, 23-25; 209, 1-25; Ex. 86, pp.1-2; Ex. 1 (VC), pp. 352, 9-25; 353, 1-25; 354, 1-
   2; Ex. 4 (AH), pp. 414, 1-25; Ex. 2 (TJ), pp. 231, 23-25; 232, 1-10; Ex. 86, Ciii, Civ; Ex. 86,
   pp. 50-66; Ex. 1 (VC), pp. 125, 10-25; 126, 1-17; Ex. 2 (TJ), p. 146, 15-19. See supra, ¶¶ 20,
   21.

26. At end of October 2016, the investigators gave John Doe a copy of their final investigation
    report and their recommendations. The report was over 250 pages long with attachments. (See
    Title IX Investigation Report, Exhibit No. 1 and made part of Amended Complaint, filed at 3:
    17cv364, Docket No. 11; Complaint ¶ 58).

   RESPONSE: Admit that investigator gave Doe a report. The final report is Def. Ex. 1
   (hereinafter Response, Pl Ex. 22) that was provided in January. See infra ¶39.

27. The Investigators applied the preponderance of the evidence standard and found that John
    Doe may have violated the Title IX policy and student code of conduct and may be responsible
    for five charges, including Intimate Partner Violence, Assault, Breach of Peace, Disturbing
    the Peace and Property Damage and recommended that he be suspended for one year, if he
    accepted their findings. (Complaint ¶ 58; Exhibit E, Ex. 1, Tran., Vol. II, p. 453: 4-7).

   RESPONSE: Admit except to “applied the preponderance of the evidence standard”.
   Investigators used the standard in QU’s T9 policy, “sufficient information to conclude that
   these may have been violations of the Title IX Policy and Student Code.” Ex. 60, p. 4; Ex.
   14, p 16. Investigators recommended “at least” one year suspension. Ex. 130, ¶24; Ex. 132,
   ¶8. There was not a preponderance of evidence to find Doe responsible. Ex. 22, Ex. 86.

28. John Doe was given the standard three days to make a decision and inform the investigators
    whether or not he was accepting responsibility. (Exhibit F, Depo Tran., p. 276: 3-5; p. 278:
    19-21; Complaint ¶ 59).

   RESPONSE: Admit.

29. On November 1, 2016, John Doe met with the investigators and his attorney was present as
    his adviser. During this meeting, John Doe informed the investigators that he has disabilities.
    (Complaint ¶ 61; See Title IX Investigation Report, Exhibit No. 1 and made part of Amended
    Complaint, filed at 3: 17cv364, Docket No. 11, p. 1).

   RESPONSE: Admit.

30. John Doe testified that Jane Roe was treated more favorably than him during the investigation
    because one side of the investigation was done before he had a chance to speak and Jane Roe
    had more time to prepare everything. (Exhibit D, Pl’s Depo Tran., p. 215: 21-25; p. 216: 1-
    8).

   RESPONSE: Admit Doe testified to that in substance. Doe also testified it was because Roe
   had more time to gather evidence, the investigation was one-sided to begin with before he had

                                             6
    Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 7 of 54



   a chance to defend himself. Def Ex. D, Pl Depo pp. 215, 21-25; 216, 1-8.

31. John Doe testified that he was given multiple opportunities to speak with the investigators and
    when he asked for additional time to review the investigation report and submit his response
    and the extra time was provided to him. (Exhibit D, Pl’s Depo Tran., p. 215: 21-25; p. 217:
    4-12).

   RESPONSE: Admit Doe testified to that in substance.

32. On November 1, 2016, John Doe and his adviser contacted Matthew Cooper in the Office of
    Student Accessibility seeking an accommodation. Mr. Cooper approved an extension for John
    Doe to decide if he was accepting responsibility, until November 11, 2016. (Complaint ¶ 62).

   RESPONSE: Admit.

33. On November 9, 2016, John Doe requested another extension until November 12, 2016, which
    was denied. (Complaint ¶ 62).

   RESPONSE: Admit. Doe requested an extension from Friday at 4:00 p.m. until Monday due
   to academics in addition to the holiday and the length of the RR. Ex. 28.

34. On November 11, 2016, John Doe accepted responsibility for Property Damage, i.e. breaking
   a glass door. He did not accept responsibility for the other four charges. (Complaint ¶ 63).

   RESPONSE: Admit.

35. On November 16, 2016, Matthew Cooper recommended that the Title IX Grievance
    Committee Hearing (“Hearing”) be scheduled no earlier than February 1, 2017. (Exhibit G,
    MC Depo Tran., p. 40: 15-18).

   RESPONSE: Admit the first sentence. Cooper recommended Doe be given until the week
   of January 16th to respond to the RR, and to avoid the first day of classes, January 23rd due
   to Doe’s disabilities. Cooper recommended scheduling the Hearing after Doe had sufficient
   time to submit a Response so investigators could have time to consider his Response. Exs.
   29, 30; Ex. 130, ¶28; Ex. 3 (SK), pp. 281, 19-25; 283, 11-14, 21-25.

36. On January 13, 2017, Mr. Kalagher re-scheduled the Hearing date for January 23, 2017. Mr.
    Kalagher had a conversation with Mr. Cooper about whether he felt it would be acceptable to
    schedule the Hearing before February 1, 2017 and he did not have any objections. Mr. Cooper
    picked that date because it was the 1st of the month. (Complaint ¶ 66; Exhibit F. Depo Tran.,
    p. 282: 3-9 and 15-17).

   RESPONSE: Admit first and third sentence. Deny second sentence. The Hearing was
   scheduled on the very day Cooper recommended QU avoid and before Doe submitted his
   Response. Doe was never told of the date change by Cooper and Cooper would have discussed
   the date change with him. Cooper makes the decision on accommodations after discussing

                                             7
    Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 8 of 54



   them with the student and QU always complied. Ex. 4 (AH), pp. 114, 15-25; 115, 1-25; Ex. 1
   (VC), pp. 507, 9-15; 509, 23-25; 510, 1-25; 511, 1-20; Ex. 2 (TJ), pp. 191, 16-25; 193, 1-25;
   Ex. 3 (SK), pp. 93, 17-22; 94, 7-25; 95. 1-11; Ex. 11 (MC), pp. 36, 19-25; 37, 1-2, 18-25; 38,
   1, 8-20; 40, 4-25; 41, 1-3, 21-25; 42, 12-25; 43, 1, 16-18.

37. On January 20, 2017, John Doe submitted a 20-page response (“Response”). (Complaint ¶
    68, see Exhibit 2 attached and made part of the Amended Complaint, see 3: 17cv364, Docket
    No. 12.)

   RESPONSE: Admit. Doe submitted his Response that included 20 pages of text plus exhibits
   that totaled 240 pages, in which Doe provided additional information and evidence of possible
   T9 violations by Roe and Roe 2, which also were a defense to the charges against him. Doe’s
   Response included that his parents had relevant information and had not been interviewed and
   asked investigators to consider his Response and investigate his claims of the possible
   violations by Roe and Roe2 in his Response and also expressed concerns of gender bias in
   INV2. Ex 22; Exs. 27, 31, 32; Ex. 7 (KK), pp. 223, 8-18; 233, 11-14.

38. On January 24, 2017, Mr. Kalagher informed John Doe that the investigator, Mr. Contrucci
    reviewed his Response and that the investigation report would not be amended. The other
    investigator, Ms. Heins was no longer employed at QU. Mr. Kalagher re-scheduled the
    Hearing for February 7, 2017. (Complaint ¶ 69; Exhibit F, SK Depo Tran., p. 232: 12-22).

   RESPONSE: Admit. SK and VC reviewed the Response. SK did not conduct an
   independent analysis. Neither SK nor VC investigated Doe’s claims of the possible T9
   violations of Roe and Roe2 or the claims of ongoing harassment by Roe. SK did not
   speak to TJ about Doe’s claims of harassment but relied on VC to decide next steps. Exs.
   32, 33, 43 and 94; Ex. 1 (VC), pp. 544, 4-25; 545, 1-25; 546, 1-25; 547, 1-25; 548, 1-25;
   549, 1-25; 550, 1-25; 551, 1-24; Ex. 3 (SK), pp. 232, 1-25; 234; 6-25; 235, 1-25; 236 1-
   14; 306, 1-25.

39. On January 27, 2017, Mr. Kalagher provided John Doe with a revised investigation report
   (“Revised Report”). (Complaint ¶ 70). VC,466, 6-13;

   RESPONSE: Admit the final report was provided and it contained additional information
   regarding subsequent interviews and communications between the investigators and Roe and
   Roe 2 dating back to November and December 2016, including Roe and Roe2’s response to
   the RR that Doe had never seen. Doe was never given a chance to respond to this additional
   information. Ex. 34. Ex. 131, ¶35. Ex. 130, ¶35.

40. On February 1, 2017, the plaintiff informed Terri Johnson, Title IX Coordinator that he
    believed the investigation was unfair and in violation of Title IX and the QU Student
    Handbook. He requested an investigation into the manner in which the investigation was
    handled to determine whether or not charges should be brought against him for IPV or Assault.
    John Doe further requested that an investigation be conducted before scheduling the Hearing,
   the investigators and Mr. Kalagher be removed from further involvement due to bias, an
   objective investigator conduct an independent investigation, and administrative charges be
   brought against Jane Roe for the same charges against him and also a violation of Jane Roe’s
                                            8
    Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 9 of 54



   no contact order. Also, he requested that administrative charges be brought against Jane Roe
   and Jane Roe 2 for sexual harassment, harassment and stalking. (Complaint ¶ 76, 77.)

   RESPONSE: Admit Doe submitted a letter to Johnson on February 1 and the letter speaks
   for itself. Doe also requested an investigation into his allegations of Roe’s and Roe’s
   harassment, sexual harassment, IPV and Stalking. Exhibit 56.

41. On February 6, 2017, QU continued the Hearing until February 24, 2017. (Complaint ¶ 78).

   RESPONSE: Admit.

42. Mr. Kalagher reviewed John Doe’s claims and found that there was no rational conflict with
    Ms. Buda. Ms. Buda sent John Doe an assessment email that every student in the conduct
    process received and she answered the telephone when his parents called once or twice. Ms.
    Buda was not a student conduct officer in either of John Doe’s prior student conduct cases.
    (Exhibit F, Depo Tran., p. 324: 21-25; p. 325: 1-8; Exhibit H, MB Depo Tran. p. 174: 10-22).

   RESPONSE: Admit. MB was involved as the NCO officer in a case in which Doe was a
   respondent and was also involved in handling calls with Doe, his lawyer and his parents in the
   SK assault case. On February 27th, when Doe discovered she was on the Board, he requested
   she be recused due to a conflict based on her involvement in his two prior conduct issues and
   because SK was her direct supervisor. Doe was assaulted twice by a QU student SR and SK
   was the hearing officer in those student conduct cases. Doe and his parents and their lawyer
   had calls with SK and MB about their lenient handling of SR and treated them
   unprofessionally and did not take their son’s safety or fears seriously. In his Response, Doe
   asked that SK be removed due to a conflict, which TJ denied. Ex. 111; Ex. 112; Ex. 114, See
   ¶4 infra. Ex. 6 (MB), pp.169, 17-25; 170, 1-25; 174, 11-25; Ex. 42.

43. Mr. Kalagher found he did not have any conflicts with John Doe. Mr. Kalagher had no
    involvement with the finding of responsibility or what sanction was imposed by the Hearing
    Committee. (Exhibit F, Depo. Tran., p. 345: 22-24; p. 239: 21-23).

   RESPONSE: Admit that Kalagher had no direct involvement in the finding or sanction. On
   February 1, 2017, Doe asked TJ to excuse SK from further involvement in his case, due to his
   past behavior and his bias, which TJ repeatedly denied, even after Doe gave her information
   showing his involvement in the former case. Ex. 130, ¶¶6-12; Ex. 132, ¶¶3, 4; Ex. 3 (SK), pp.
   250, 7, 14-25; 251, 1-21; Ex 36, p. 2; Ex. 22, p. 20-21; Ex.42; Ex. 56, p. 11.

44. Ms. Johnson assessed John Doe’s complaints set forth in the February 1, 2017 letter, the Title
    IX policy and process, consulted with Mr. Kalagher and QU legal counsel and decided not to
    open an independent investigation. (Exhibit I, SK Depo Tran., p. 197: 17-23).

   RESPONSE: Admit except to “assessed” and “consulted” but agree that she spoke with
   Kalagher.

45. The Hearing was rescheduled by QU until March 3, 2017 due to a scheduling conflict.

                                            9
   Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 10 of 54



   (Complaint ¶ 79).

   RESPONSE: Admit.

46. On February 24, 2017, Mr. Kalagher provided John Doe with the information for the Hearing.
    John Doe renewed his request that Mr. Kalagher and Ms. Buda, Director of Student Conduct
    and the Hearing Committee Chair be recused from the Hearing based on alleged conflicts. He
    also requested that the documents regarding his disabilities be given to the Hearing members,
    but not the parties. Also, he requested that his claims that Jane Roe violated the no contact
    order and confidentiality be brought to the Hearing members attention, as he believed they
    showed her credibility and motive. (Complaint ¶ 83).

   RESPONSE: Admit, except to “showed her credibility.” Doe wrote that they undermined
   his credibility. Ex. 35; Ex. 130, ¶¶42, 43.

47. On February 27, 2017, Ms. Johnson responded that she reviewed the underlying investigation
    and found that it was not biased or unfair and that “the university will not be opening an
    investigation into the matter in which this Title IX investigation has been handled nor will
    there be another investigation performed as you requested.” She also responded that the
    “Deputy Title IX Coordinator appropriately addressed the various issue raised in regard to
    both your client and the Complainants.” (Complaint ¶ 84, See Exhibit 4 attached and made
    part of the Amended Complaint, see 3: 17cv364).

   RESPONSE: Admit the letter speaks for itself, which contained no explanation for TJ’s
   decisions. TJ did not conduct a review or independent investigation or instruct anyone to into
   Doe’s defense, possible T9 claims against Roe or Roe2 or the way the employees handled
   INV1, did not speak with the investigators about INV1 but relied “on the investigators and
   Seann Kalagher to have done what [she] presumed they would have done.” TJ understood
   Doe’s allegations were a defense to the charges and denied his request to an investigation into
   his allegations in INV1 so they could be decided in the same hearing as Roe’s and Roe 2’s.
   Ex. 2 (TJ), pp. 208, 17-25; 209, 210, 1-25; 230, 1-25, 232, 1-20; 241, 1-16; 242, 11-25; 243,
   1-25; 244, 1-25; 245, 1-17; Ex. 1 (VC), pp. 554, 1-22; 555, 1-25; Ex. 4 (AH), pp. 427, 22-25;
   428, 1-24; Ex. 3 (SK), pp. 299, 2-25; 317, 2-13; Ex. 36; Ex. 37.

48. On February 27, 2017, John Doe requested that his response and exhibits be considered a
    formal complaint against Jane Roe and Jane Roe 2. (Complaint ¶ 85).

   RESPONSE: Admit. Doe filed formal complaint only after SK and TJ told him the only way
   they would investigate his defense and Roe’s alleged T9 violations would be if he filed a
   formal complaint. Ex. 2 (TJ), pp. 245, 18-25; 246, 1-21; Ex. 36, p. 2; Ex. 38.

49. On February 27, 2017, Ms. Johnson denied John Doe’s request for recusal based on conflicts
    because Ms. Buda was not involved in the prior student disciplinary conduct investigation or
    prior decision-making process, Mr. Kalagher had not been unfair or biased and also was not
    involved in the decision making or sanctions at the Hearing. (Complaint ¶ 86).



                                           10
   Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 11 of 54



   RESPONSE: Admit Johnson stated those reasons. It is not typical to have formal complaints
   at QU. Ex. 39. 3 (SK), p. 220, 11-16

50. On February 28, 2017, Ms. Johnson informed John Doe that she accepted his formal complaint
    and that the Hearing would still be going forward on March 3, 2017. (Complaint ¶ 87).

   RESPONSE: Admit. Doe filed the formal complaint because it was the only way to get “his
   side before the hearing panel so that he can have a fair hearing and requested that his complaint
   be heard by the same Board in the same Hearing since they arise out of the same set of facts
   and transactions,” which Johnson denied. Ex. 40; Ex. 2 (TJ), pp. 244, 3-25; 245, 1-25.

51. On March 1, 2017, John Doe met with Mr. Cooper and obtained his recommendation for
    accommodations. (Complaint ¶ 88).

   RESPONSE: Admit.

52. On March 2, 2017, John Doe filed an action and motion for a TRO and preliminary injunction.
    Admit. The Hearing was stayed pending a hearing and ruling on the motion for preliminary
    injunction. (Complaint ¶ 89).

   RESPONSE: Admit.

53. On March 31, 2017, this Court denied John Doe’s motion for preliminary injunction.
    (Complaint ¶ 90).

   RESPONSE:        Admit.

54. On April 5, 2017, Mr. Kalagher informed John Doe that the Hearing was scheduled
    for April 21, 2017. (Complaint ¶ 91).

   RESPONSE: Admit.

55. On April 8, 2017 and April 19, 2017, John Doe renewed his request that Mr. Kalagher and
    Ms. Buda be recused from the Hearing. (Complaint ¶¶ 94, 97).

   RESPONSE: Admit. Doe provided information of Kalagher and Buda’s prior involvement.
   In same email, Doe requested there be a person trained in understanding mental health issues
   and learning differences/disabilities on the Board to assist the Board in understanding both
   Doe’s conduct under investigation and how his disabilities could affect his credibility in
   interviews; whether Doe’s psychiatrist could testify as a witness to assist the Board in
   understanding Doe’s disabilities and mental health issues and that QU only provide the
   confidential information to the Board and not the complainants. Doe also emailed Kalagher
   and Johnson inquiring about the status of his formal complaint against Roe because he heard
   nothing since February 27. Def. Answer ¶97; Exs. 42; 87.

56. On April 18, 2017 and April 20, 2017, Ms. Johnson denied John Doe’s renewed request.

                                            11
   Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 12 of 54



   (Complaint ¶¶ 96, 97, 98).

   RESPONSE: Admit. TJ denied Doe’s renewal request again reasoning that Buda was not
   involved in the prior investigation or decision-making in that case and Kalagher had not
   been unfair or biased against Doe and was not involved in the decision-making in the
   Hearing. TJ based her decision on SK’s representation that he had spoken with MB who
   confirmed she was not involved in prior incidents. MB denied that anyone had spoken with
   her about this. Exs. 115, 117; Ex. 42; Ex. 6 (MB), p.179, 1-25; Ex. 3 (SK), pp. 324, 12-
   25; 325, 1-25; Ex. 2 (TJ), pp. 236, 1-25; 237, 1-24; 238, 1-25; 267, 8-25; 268, 1-25; 269,
   1-25; 276, 19-25; 277; 1-18;

57. On April 19, 2017, Mr. Kalagher informed John Doe that the following accommodations
    would be provided at the Hearing: (a) To aid in his processing the information, all questions
    pertaining to a specific event and date should be kept together, without going back and forth
    between dates and events; (b) To avoid “shutting down,” allow John Doe time (several
    minutes) to process questions and regroup,” with assistance if necessary, in order to recall the
    context of the question at hand; (c) Because of his difficulty sustaining attention and focus
    and the ease with which he tires out cognitively, John Doe should be given frequent breaks in
    the questioning (every 15-20 minutes), during which time he may “clear his head” and confer
    with his adviser. (Complaint ¶ 98).

   RESPONSE: Admit. SK denied Doe’s accommodation requests that an expert advise the
   panel and how his disabilities affected his credibility and the conduct at issue, that his own
   expert testify as a witness at the hearing for the same purposes and that they consider any
   option other than a hearing. Ex. 44.

58. John Doe requested that Mr. Kalagher share his documented disabilities with the Committee
    knowing it would be shared with the Complainants. (Complaint ¶ 100).

   RESPONSE: Admit, Doe requested this was after QU denied repeated requests to keep the
   information from the complainants due to their harassment and sharing of personal
   information and DOE had no choice but to share this information with Roe and Roe2 if he
   wanted the Board to see the information. See infra ¶¶ 264, 265. Ex. 45; Ex. 130, ¶46.

59. Prior to the Hearing, the Committee was provided the investigation report and John Doe’s
    Response for review. (Exhibit F , SK Depo Tran., p. 288: 8-12).

   RESPONSE: Admit. QU did not include Doe’s Response in RR but did include Roe and
   Roe2’s responses admittedly “imbuing their responses with the cloak of credibility.” Answer
   ¶70. Roe and Roe2 responded to the RR and neither denied Doe’s claims of possible T9
   violations against them. Ex. 86, Jx; Dxiv; Ex. 1 (VC), p. 551, 1-15.

60. The Hearing was held for approximately seven hours on Friday, April 21, 2017. John Doe was
    in attendance with his attorney as his adviser. (Complaint ¶ 101; Exhibit F,.Depo Tran., p.
    321: 14-17; Exhibit H, Depo Tran., p. 213: 14-25; p. 214: 1-3).



                                             12
   Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 13 of 54



   RESPONSE: Admit.

61. The Title IX Grievance Committee was mixed gender, as it included Ms. Megan Buda, Ms.
   Courtney McKenna and Mr. Stefano Fasulo. (Exhibit H, MB.Depo Tran., p. 214: 2-5).

   RESPONSE: Admit. Investigators in INV1 were gender mixed but not in INV2, against
   QU’s practice. Ex. 6 (MB) p. 157, 6-21.

62. John Doe plead not responsible to the charges for Jane Roe and Jane Roe 2. (Complaint ¶
    102).

   RESPONSE: Admit.

63. Investigator Contrucci orally summarized the investigation report and response by reading
    from a document that he prepared, which was provided to the Hearing members and John
    Doe. (Complaint ¶ 105).

   RESPONSE: Admit. Contrucci defended his actions and marshalled the evidence in favor
   of the findings against Doe and in favor of Roe and Roe2. Contrucci summarized Roe and
   Roe 2 and their witnesses’ interviews, reflected in 10.5 single-spaced pages, and summarized
   Doe’s and his witnesses’ interviews in under 4 pages. Contrucci summarized Doe’s lengthy
   Response in one line. Contrucci addressed Doe’s concerns raised in his Response which was
   new information. Contrucci told the Board that he omitted the Cease and Desist letter because
   Doe did not give it to him, which was false. QU did not give the summary to Doe until later
   that day and Doe was never given the opportunity to address or rebut it. Exs. 47; 49; Ex. 130,
   ¶¶53-56; Ex. 9 (SF), pp.127, 2-25; 128, 1-8; 214, 1-14; 215, 15-22; Ex. 5 (CM), pp. 147, 9-
   25; 148, 1-4; pp. 176, 6-25; 177, 1-8; 223, 6-19; Ex. 6 (MB), pp. 230, 5-13, 17-25; Ex. 1 (VC),
   p. 571, 6-13; Ex. 9 (SF), pp. 220, 21-25; 222, 1-17; 147, 14-17 ; Ex. 1 (VC), pp. 559, 14-22;
   567, 1-23; 568, 1-25; 569, 1-25; 570, 1-22; Ex. 4 (AH), pp. 149, 9-25; 151, 10-16; Ex. 7 (KK),
   pp. 138, 22-25; 139, 1-13; Ex. 6 (MB), p. 166, 2-11.

64. During the Hearing, Jane Roe had a female student with her as her adviser. Jane Roe stated
    that she was upset because the Hearing had been postponed so many times. (Complaint ¶ 108;
    Exhibit F, SK Depo Tran., p. 310: 18-20).

   RESPONSE: Deny first sentence. Admit second sentence. A male TC was Roe’s advisor
   at the Hearing. Roe was crying and emotional. Ex. 130, ¶¶59, 60; Def.’s Answer, ¶108.

65. No witnesses were called by the Hearing members. One witness, T.C. was on standby, if the
    Hearing Committee wanted to interview him. (Complaint ¶ 109; Exhibit F, SK Depo Tran.,
    p. 310: 15-22).

   RESPONSE: Admit first sentence. Deny second sentence. Kalagher did not provide
   notice to Doe of any witnesses as required by T9 policy. Ex. 14, p. 17. TC was Roe’s
   advisor at the Hearings. Ex. 130, ¶59.

66. The Hearing Committee took a break to decide responsibility. The Hearing Committee used
                                           13
   Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 14 of 54



   the preponderance of the evidence standard. The Hearing Committee used the definition of
   IPV in the Title IX policy when finding John Doe responsible. (Complaint
   ¶ 110; Exhibit H, MB Depo Tran., p. 184: 9-10).

   RESPONSE: Admit the first sentence. Deny the second sentence. The Board did not use
   the definition of IPV in the T9 policy and did not apply the preponderance standard. It used
   the wrong definition of IPV with less elements to prove and used evidence after January 2015
   outside of timeframe when Roe2 and Doe were in an intimate relationship which is beyond
   T9 policy IPV definition. The weight of the evidence does not meet preponderance, including
   that Roe and Roe2 did not deny Doe’s allegations of the T9 violations or the defenses he raised
   in his interview or Response. The Board relied on the “investigation report along with the
   appendices” but did not consider Doe’s Response. Ex. 22; Ex. 14, p. 11; Ex. 51, pp. 1-2; Ex.
   5 (CM), pp. 243, 1-25; 244, 1; 246, 1-12; Ex. 9 (SF), pp. 238, 21-25; 239, 7-23; 240, 18-25;
   241, 1-9; 17-25; 243, 1-6; Ex. 6 (MB), pp. 249, 5-19; 253, 9-21.

67. After the Hearing Committee reconvened, it read the definitions for each of the charged
    conduct violations and found John Doe responsible for each charge against each complainant.
    (Complaint ¶ 111.).

   RESPONSE: Admit.

68. John Doe and Jane Roe each read their impact statements. (Complaint ¶ 112)

   RESPONSE: Admit.

69. Mr. Kalagher read John Doe’s prior charge of assault to the Committee and provided the range
    of sanctions available for the findings of responsibility for the charges with which John Doe
    had been found responsible. (Complaint ¶ 114).

   RESPONSE: Admit except to the characterization of the charge of “assault.”

70. After a break to determine the sanctions, the Hearing Committee announced that the no
    contact order would remain in effect; that John Doe would be given a deferred suspension
    through graduation for which any violation of policy committed during that time would result
    in immediate suspension; that John Doe was suspended from University owned property
    without prior permission, except that he could attend classes; that John Doe was prohibited
    from attending University sponsored events, including senior week, which restriction may be
    reviewed by the Title IX Coordinator after the 2017-2018 academic year; and that John Doe
    must adhere to the recommendations of the Title IX Coordinator regarding commencement,
    including his participation in the School of Business Graduation. (Complaint ¶ 115).

   RESPONSE: Admit.

71. On Monday, April 24, 2017, Mr. Kalagher emailed the decision letter to John Doe.
    (Complaint ¶ 115).



                                           14
   Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 15 of 54



   RESPONSE: Admit except ¶116.

72. John Doe testified that the Hearing was biased against him and inadequate because “it didn’t
    seem very important on what I had to say. It was kind of more based off what was written in
    the investigation report.” (Exhibit D, Pl’s Depo Tran., p. 226: 2-6).

   RESPONSE: Admit he testified to that quote, except “investigation” is “incident.”

73. John Doe testified that if the hearing panel reviewed and considered his Response and the
    investigator’s report that would encompass everything that he wanted them to consider.
    (Exhibit D, Pl’s Depo Tran., p. 226: 19-24).

   RESPONSE: Admit Doe testified to that.

74. On May 9, 2017, John Doe filed his appeal and requested that Ms. Johnson be recused from
    reviewing it. (Complaint ¶¶ 118, 119).

   RESPONSE: Admit.

75. John Doe appealed on two grounds: (1) additional and/or new relevant information not
    available at the time of the Hearing; and (2) an error in the process of the abridgment of rights,
    as outlined in the Title IX policy, which materially impacted the outcome of the Hearing.
    (Complaint ¶ 120).

   RESPONSE: Admit.

76. On May 15, 2017, Mr. Contrucci filed a response to the appeal stating that he was incorrect
    when he told the Hearing Committee that John Doe had not sent him the Cease and Desist
    letter. It was not included within his final investigation report, but it was included within John
    Doe’s Response and provided to the Committee prior to the Hearing. (Complaint ¶¶ 123,
    124).

   RESPONSE: Admit.

77. On May 26, 2017, Ms. Johnson assigned Monique Drucker, Vice President and Dean of
    Students and former Title IX Coordinator, as the appeal officer to review the appeal.
    (Complaint ¶ 126).

   RESPONSE: Admit.

78. Jane Roe and Jane Roe 2 did not file a response to the appeal. (Complaint ¶ 125).

   RESPONSE: Admit.

79. The appeal was reviewed by Ms. Drucker and also by an appeal panel. (Exhibit J, MD Depo
    Tran., p. 144: 5-9).

                                              15
   Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 16 of 54




   RESPONSE: Admit.

80. On June 23, 2017, Ms. Johnson sent Ms. Drucker’s Appeal Decision Letter to John Doe,
    affirming the Hearing Committee’s April 24, 2017 decision. (Complaint ¶ 127).

   RESPONSE: Admit.

81. The appeal panel found no ground for appeal based on new evidence, as there was no effect
    on John Doe because he had included the Cease and Desist Letter in his Response, which had
    been provided to the Committee prior to the Hearing. (Complaint ¶ 127).

   RESPONSE: Admit QU sent the letter. Deny that the new evidence had no impact because
   Drucker did not consider damage to Doe’s credibility in front of the board when accused of
   lying with no opportunity to respond or rebut it. The letter and it speaks for itself. Ex. 52.

82. The appeal panel found one sufficient ground for appeal based on error in the process, which
    was that the investigation took more than 60 days. The appeal panel remanded the matter
    back to the Hearing Committee for reconsideration. (Complaint ¶ 127).

   RESPONSE: Admit.

83. On June 15, 2017, the Hearing Committee determined that “although the investigation took
    more than 60 days, it would not have materially impacted the outcome, findings and
    sanctions.” (Complaint ¶ 127).

   RESPONSE: Admit.

84. John Doe testified that the appeal was biased and unfair because “they kind of already had
    their minds made up already” because of the investigation and subsequent report. (Exhibit D,
    Pl’s Depo Tran., p. 228: 2-6; p. 229: 5-9).

   RESPONSE: Admit testified to quoted language, and deny remaining portion of sentence.
   The transcript speaks for itself. Def Ex. D, Doe Depo, pp. 228, 2-6; 229, 5-9.

85. On April 8, 2017, Ms. Johnson advised John Doe that Ms. Keith would follow-up on John
    Doe’s complaint about a possible violation of the NCO and breach of confidentiality
    harassment/retaliation by Jane Roe through a friend that John Doe had disclosed to
    investigators before October 22, 2016 to ascertain the identity of that friend to address John
    Doe’s concerns. John Doe never heard back about that investigation. (Complaint ¶ 159).

   RESPONSE: Admit. Doe never heard anything substantive about that investigation. In her
   February 28th letter, Johnson told Doe that Keith would follow up on Doe’s complaint in
   September 2016 about the possible violation of the NCO and breach of confidentiality
   harassment/retaliation by Roe. April 21, 2017, Contrucci told the Board at the Hearing that
   the investigators had addressed Doe’s claims of harassment and ongoing harassment and

                                            16
   Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 17 of 54



   breaches of confidentiality with Roe in the fall but “this, unfortunately, was not included in
   the notes from our conversation.” Ex. 49 p. 11; Ex. 2 (TJ), pp. 227, 21-25; 228, 20-25; 229,
   7-23; 261, 19-25. Ex. 37.

86. Alleged violations of no contact orders are investigated by public safety, like many general
    student conduct matters. (Exhibit F, SK Depo Tran., p. 246: 8-13).

   RESPONSE: Admit.

87. If a staff member makes the decision that a student will not be charged with violation of a no
    contact order, then it is not standard practice to inform the student. (Exhibit F, Depo Tran., p.
    248: 15-24).

   RESPONSE: Admit. It is not “necessarily a normal practice” to inform a student of “every
   public safety report that ends up not becoming a student conduct matter.” Ex. 3 (SK) p. 248,
   20-23. QU is required to inform a complainant regarding developments in his T9 case. Ex.
   14, p. 15. There is nothing in QU publications (Exhibit 14 or 61) reflecting the practice.

87. On February 17, 2017, John Doe notified Mr. Kalagher and Ms. Johnson that he was harassed
    by two different friends of Jane Roe. (Complaint ¶ 80).

   RESPONSE: Admit Doe notified QU of two separate incidents. Kalagher assured Doe that
   QU’s Public Safety Department would investigate the incident he reported and that that he
   would contact Roe “to reiterate the expectations of the no contact order, share Doe’s concerns
   and let her know that the university will be following up on the matter.” Doe requested that
   Kalagher let him know when the above steps have been taken as it would provide some
   comfort to Doe and allow him to go about his daily activities without fear of being harassed.”
   Doe was never informed that Roe had been contacted, unlike in the fall when the investigators
   informed Roe, Roe2 and AS when they contacted Doe upon their request. Ex. 90.

88. On February 22, 2017, QU Public Safety Officer Karoline Keith interviewed John Doe
    regarding his claims that the no contact order was violated. (Complaint ¶¶ 81, 162).

   RESPONSE: Admit. Keith interviewed Doe regarding the two claims in ¶87. Keith also
   advised that Kalagher would handle the issues regarding breaches of confidentiality of the
   investigation and any previous incidents of claims of violation of the NCO. Doe never heard
   from SK about the confidentiality issues or previous violations of NCOs. Ex. 90.

89. On March 3, 2017, Ms. Keith finished her investigation and submitted her report to student
    affairs, which found that the no contact order was not violated. (Complaint ¶ 160).

   RESPONSE: Admit. Doe had provided Keith with an audio recording of Roe’s friend
   pursuing Doe to talk about Roe and what Doe did to her in which the friend admits Roe told
   him about the situation. When the investigator interviewed Roe’s friend, he denied saying
   that Roe had said anything to him. Roe denied it as well. Despite the fact that there was an
   audio recording in direct contradiction of what that friend and Roe had told Keith, Keith did

                                             17
    Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 18 of 54



    not question them about the audio tape and closed the case. Ex. 130, ¶43; Exs. 53; 97.

90. On March 21, 2017, Ms. Johnson emailed John Doe and advised that the complaints were
    reviewed by Cindy Long Porter who found that the information did not support charges being
    brought against Jane Doe. (Complaint ¶ 161).

    RESPONSE: Admit. Doe’s complaints met the threshold for bringing a charge which is if
    there is “a possibility that this person would be responsible.” Ex. 3 (SK), pp. 246, 1-25; 247,
    1-15.

91. On March 27, 2017, John Doe reviewed the report in the presence of Ms. Johnson and Ms.
    Keith. (Complaint ¶ 162).

    RESPONSE: Admit.

92. The Hearing Committee was given a copy of the public safety report and informed that there
    was no violation by Jane Roe. (Complaint ¶ 164).

    RESPONSE: Admit.

93. On April 7, 2017, John Doe reported to Ms. Johnson and Ms. Keith that he believed Jane Roe
    violated the no contact order when she allegedly walked by him at a restaurant and said “I
    fucking hate you.” (Complaint ¶ 166).

    RESPONSE: Admit. Doe also reported additional continuing harassment by Roe. Ex. 54.

94. On April 12, 2017, Ms. Keith met with John Doe to interview him about his complaint.
    (Complaint ¶ 167).

    RESPONSE: Admit. In her interview with Keith, Roe admitted she was at the restaurant with
    friends but denied seeing Doe or saying anything to him. Roe said when she left, she was
    talking on the phone to friends and was intoxicated but was aware and that she did not believe
    that she said she “fucking hates him” when she was on the phone but could not recall her
    conversation. Roe checked her phone to prove the times of her call but said that her phone log
    only went back to April 8 and did not show Keith the phone. Keith interviewed Doe’s friends
    who corroborated his whereabouts. Keith failed to interview any of Roe’s friends or check
    any social media or phone logs to corroborate Roe’s story. Keith closed the case. Ex. 55.
    Def.’s Answer ¶169.

95. On June 1, 2017, Ms. Johnson informed John Doe that Ms. Keith concluded her investigation
    on May 4, 2017. The case was also reviewed by Mark DeVilbiss, Director of Residential Life,
    who found that the information did not support the charges being brought against Jane Roe.
    (Complaint ¶ 168).

    RESPONSE: Admit. Doe’s response met the threshold for bringing a charge. Ex. 3 (SK),
    pp. 246, 1-25; 247, 1-15.

                                            18
     Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 19 of 54




 96. On February 27, 2017, John Doe made a formal complaint against Jane Roe and Jane Roe
     2. (Complaint ¶ 128).

     RESPONSE: Admit QU accepted his Response and exhibits as a formal complaint, which
     investigators believed involved allegations of IPV, stalking and sexual harassment against
     Roe. Ex. 7 (KK), pp. 213, 9-25; 214, 1-17; Ex. 2 (TJ) pp. 163, 5-20; 239, 16-25; 240, 1-
     25; 183, 12-25; 185, 7-13; 246, 5-21; 188, 14-16; 189, 1-3; 190, 1-4; Ex. 37.

 97. QU informed John Doe that he could not bring a complaint against Jane Roe 2 because she
     was no longer a student. (Complaint ¶ 130).

     RESPONSE: Admit.

 98. On April 8, 2017 and April 18, 2017, John Doe inquired as to the status of his complaint
     against Jane Roe. (Complaint ¶¶ 131, 132).

     RESPONSE: Admit. Doe inquired because he had heard nothing since he submitted the
     formal complaint on February 27. Ex. 58.

 99. On April 19, 2017, Mr. Kalagher responded that Jane Roe was notified of his complaint
     and that QU needed to schedule a meeting to speak with him further. (Complaint ¶ 133).

     RESPONSE: Admit. QU spoke with Roe before anyone spoke with Doe about his formal
     complaint and Inv2. Ex. 59; Ex. 2 (TJ), pp. 270, 19-25; 272, 1-13. Ex. 130, ¶52.

100. The investigation was delayed because QU was waiting for a decision and guidance from
     the federal court on QU’s practices during investigation no. 1. (Exhibit I, Depo Tran, p.
     247: 9-19).

    RESPONSE: Admit that TJ testified to that. QU determined Inv2 was a separate and
    independent investigation from INV1. Ex. 2TJ, pp. 282, 14-17; Ex. 12LC, pp. 120, 5-8.

101. On April 20, 2017, QU investigators, Karoline Keith and Lila Carney requested to interview
     John Doe. (Complaint ¶ 135).

    RESPONSE: Admit. Keith and Carney contacted Doe on the day before his Hearing in
    INV2. Ex. 130, ¶51.

102. The investigators informed John Doe that his Response and attachments would be at the
     center of the meeting. (Complaint ¶ 137).

     RESPONSE: Admit.




                                             19
     Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 20 of 54



103. Due to scheduling conflicts, on May 3, 2017, John Doe was interviewed by the investigators.
     The investigators were aware of his disabilities. John Doe suggested witnesses, including
     his parents. (Complaint ¶ 139).

    RESPONSE: Admit.

104. On May 12, 2017, Ms. Keith interviewed John Doe’s mother and John Doe’s father over
     the telephone. (Complaint ¶ 141).

    RESPONSE: Admit. Keith also interviewed Doe’s mother on May 11, 2017. Doe’s
    mother and father would have preferred to be interviewed in person but that option was
    never offered. Ex. 60, p. 18; Ex. 131, ¶8; Ex. 132, ¶9.

105. On May 12, 2017, John Doe’s mother requested that John Doe’s aunt be interviewed and
     also that she and her husband be able to review her notes of their interviews. Investigator
     Keith informed her that it was not her practice to review notes with witnesses. (Complaint
     ¶ 142).

    RESPONSE: Admit. Doe’s mother asked Keith for the second time to interview Doe’s
     aunt because she had important information about the events under investigation. Keith
     advised she did not interview Doe’s aunt because Doe did not request her to. Keith told Doe’s
     mother that she would check with Johnson about the request to review he notes and did not
     get back to Doe’s mother or permit Doe’s parents to review the notes. Ex. 131, ¶10; Ex. 98;
     Def.’s Answer ¶142.


106. On May 19, 2017, the investigators met with John Doe to review their findings. The
     investigators used the preponderance of the evidence standard. The investigators concluded
     that they did not find Jane Roe responsible for sexual harassment, intimate partner violence,
     or stalking in violation of the University Title IX Policy or Student Code of Conduct Policy.
     (Complaint ¶ 144; Exhibit K, KK Depo Tran., p. 189: 14-19 and 21-24).

    RESPONSE: Admit that investigators used the preponderance standard but did not apply
    it correctly. See infra ¶172.

107. John Doe testified that no QU officials or representatives made comments or statements that
     they were biased against him during investigation no. 2 because he was male. (Exhibit D,
     Pl’s Depo Tran., p. 231: 3-5).

    RESPONSE: Admit that Doe testified to that in substance.

108. QU maintains John Doe’s disciplinary record for seven years. (Complaint ¶ 151).

    RESPONSE: Admit QU is required by policy to keep disciplinary for seven years, and all
    of records of dismissals or expulsions for life. Ex. 61 p. 69; Ex. 3 (SK), pp. 64, 13-25; 65,
    1.

                                              20
     Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 21 of 54




109. On April 27, 2017, Ms. Johnson informed John Doe that he would not be able to walk at the
     graduate ceremony for the School of Business, but could walk at the earlier graduation for
     the School of College Arts and Sciences. (Complaint ¶ 152).

    RESPONSE: Admit.

110. John Doe also could not attend any social events following the graduation. The
     restrictions were designed to prohibit proximity between John Doe and Jane Roe, as Jane
     Roe was also graduating from the School of Business. (Complaint ¶¶ 152, 153).

     RESPONSE: Admit. Doe and his family were not permitted to attend any social events
     related to graduation. Johnson said restrictions were to prohibit proximity between Doe
     and Roe. QU made no effort to permit Doe and his family to attend events or portions of
     events in a manner that would avoid Roe, despite repeated requests from Doe and his
     family. The Board did not permit Doe to attend senior week even when it did not know
     whether Roe would attend. Ex. 2 (TJ), pp. 296, 14-16; 297, 24-25; 298, 1-23; 299, 1-4;
     302, 13-22; Ex. 6 (MB), pp. 258, 3-25; 259, 1-23; Ex. 130, ¶69. Ex. 104.

111.After requesting reconsideration, on May 1, 2017, Ms. Johnson informed John Doe that her
    decision stands. (Complaint ¶ 154).

    RESPONSE: Admit. Johnson refused to explain to Doe her reasons. Ex. 130, ¶68;
    Ex.104.

112. John Doe requested permission to be on campus over the last weeks of classes and through
     graduation. (Complaint ¶ 156).

    RESPONSE: Admit.

113. On May 1, 2017, John Doe emailed Ms. Johnson and Mr. Kalagher requesting approval to
     accept a QU’s professors offer of a summer internship from July 10, 2017 through July 21,
     2017. (Complaint ¶ 158).

    RESPONSE: Admit except deny Doe’s request was limited to the dates of July 10, 2017
    through July 21, 2017. The brochure Doe sent was to provide a description of the internship.
    Ex. 105.

114. Ms. Johnson approved this request on May 11, 2017. John Doe responded by requesting
     approval to attend the internship on additional dates in June or July, which Ms. Johnson
     denied. (Complaint ¶ 158).

    RESPONSE: Admit. Ex. 2 (TJ), pp. 303, 12-25; 304, 3-17; 305, 1-3.

115. John Doe twice renewed his request, which Ms. Johnson denied. Jane Roe would be using
    the library and school of business building, which is where the internship was located.

                                             21
     Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 22 of 54




     RESPONSE: Admit, except deny that it was an undergraduate internship. Johnson defined
     the internship as educational. Johnson never explained why she refused to permit Doe to
     participate in educational programming and ultimately denied Doe the opportunity to
     participate in less days but on different dates due to his Professor’s request. Roe did not
     confirm she would be working at the S. Business School or provide dates or times she may
     use it or the library. Ex. 63; Ex. 2 (TJ), pp. 296, 14-16; 302, 13-25; 303, 15-25; 304; 1-25;
     305, 1-3, 311, 1-25; 312, 11-25. Def.’s Answer ¶¶157, 158.

116. John Doe testified that prior to attending Quinnipiac University, he attended Connecticut
     College. He withdrew because he thought he would be suspended after the fourth time that he
     was written-up. (Exhibit D, Pl’s Depo Tran., p. 21: 1-3 and 14-16).

    RESPONSE: Admit that Doe testified in substance to that.

117. John Doe testified that he was not an honors student. During the fall semester, he received a
     grade of D in a class. He had received the grade of C and C+ during previous semesters at QU.
     (Complaint ¶ 65; Exhibit D, Pl’s Depo Tran., p. 110: 7-10; See also Exhibit D, Pl’s Depo Tran.,
     QU Transcript, attached as Exhibit D).

    RESPONSE: Admit, Doe testified he did not believe he was an honor student. A “D” is the
    lowest grade Doe received at QU. Def. Ex. D, Pl Depo. Ex. 130, ¶76.

118. John Doe testified that there is nothing on his transcript that says anything about a disciplinary
     proceeding, finding or sanction against him. If an employer asked for his transcript, then the
     employer would not see anything regarding any disciplinary proceedings. (Exhibit D, Pl’s
     Depo Tran., p. 128: 12-23).

    RESPONSE: Admit he testified to that.

119. John Doe testified that he is not employed. He wants to work for a big bank in wealth
     management. He has avoided applying to big banks because he thinks they perform
     background checks that potentially would reveal that there were disciplinary proceedings
     against him at Quinnipiac University and he also does not have the credentials. (Exhibit D,
     Pl’s Depo Tran., p. 48: 1-3; p. 50: 1-7 and 18-23).

    RESPONSE: Admit Doe testified to that in substance.

120. John Doe testified that he attended ten interviews. He did not inform the interviewers that he
     was involved in any disciplinary hearing at Quinnipiac University and he does not recall if the
     question was asked. (Exhibit D, Pl’s Depo Tran., p. 57: 1-5).

    RESPONSE: Admit Doe testified to that.

121. John Doe testified that he has received two job offers. He did not accept the job offers because
     they were financial representative positions and he might not make a salary of $50,000, which

                                               22
     Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 23 of 54



    he believed was fair market value for his economics degree. (Exhibit D, Pl’s Depo Tran., p.
    61: 1-23; p. 64: 12-18; p. 67: 17-19).

    RESPONSE: Admit that Doe testified to that in substance.

122. John Doe testified that he has not applied to any graduate schools. (Exhibit D, Pl’s Depo Tran.,
     p. 77: 20-21).

    RESPONSE: Admit Doe testified to that in substance.

123. John Doe testified that Professor Norman Gray told him that he could not hire him for a full-
     time position at his company because of the way his company was set-up. It was not a wealth
     management position. (Exhibit D, Pl’s Depo Tran., p. 81: 3-25; p. 82: 1-5).

    RESPONSE: Admit Doe testified to that in substance.

124. John Doe testified that he experienced stress and anxiety as a result of the conduct alleged in
     his complaint and was prescribed Xanax by a psychiatrist. (Exhibit D, Pl’s Depo Tran., p. 88:
     21 -25; 89: 1-2 and 8-10).

    RESPONSE: Admit Doe testified to that in substance.

125. John Doe testified that he was prescribed Xanax by his psychiatrist for anxiety in 2013, prior
     to the incidents alleged in his Complaint. (Exhibit D, Pl’s Depo Tran., p. 90: 19-25; p. 91: 1-
     6).

    RESPONSE: Admit. Doe testified to that in substance.

126. John Doe testified that his reputation was damaged because everything became public
     knowledge and he believes individuals stopped talking to him because of it. He also believes
    Professor Norman Gray may consider him a less worthy job candidate, but has never had that
    conversation with him. (Exhibit D, Pl’s Depo Tran., p. 82: 17-25; p. 83: 1-4).

    RESPONSE: Admit. Doe believed that Gray did not hire him because he knew about Doe’s
    disciplinary issue. Pl. Depo. 83, 1-22; Ex. 113; Ex. 130, ¶70.

127. John Doe never asked for permission to be on campus to use the library to study, find job
     resources or meet with teachers. (Terri Johnson Affidavit, ¶ 7, attached as Exhibit L).

    RESPONSE: Admit Doe did request to be on campus to study and for academic reasons. Ex.
    2 (TJ), p. 305, 17-23.

128. John Doe testified that he was not expelled. He was not suspended from attending classes. He
     received a deferred suspension. He was able to finish his education and graduate without delay.
     (Exhibit D, Pl’s Depo Tran., p. 85: 14-23; p. 86: 5-10).



                                              23
     Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 24 of 54



    RESPONSE: Admit Doe testified to the above.

Individual Defendants

129. John Doe testified that no Quinnipiac officials or representatives made any comments or
     statements that they were going to find him responsible because he was male. (Exhibit D, P’s
     Depo Tran., p. 222: 14-23).

    RESPONSE: Admit Doe testified to the above.

130. John Doe testified that Seann Kalagher, Terri Johnson and Vincent Contrucci never made any
    comments or statements that they were going to find him responsible because he was male.
    (Exhibit D, Pl’s Depo Tran., p. 222: 24-25; p. 223:1-4).

    RESPONSE: Admit Doe testified to the above.

131. John Doe testified that Vincent Contrucci harassed him by not listening to what he had to say
     and stating that did not receive certain information that he did. Anything John Doe felt was
     missing was provided in his Response. (Exhibit D, Pl’s Depo Tran., p. 234: 9-25).

    RESPONSE: Admit Doe testified to the first two sentences. Deny the characterization of
    third sentence. Doe’s transcript speaks for itself.

132. John Doe testified that Terri Johnson harassed him by not allowing him to participate in the
     activities with his professor and enforcing the findings against him by the Title IX Hearing
     Committee, even though that is her job as Title IX Coordinator. (Exhibit D, Pl’s Depo Tran.,
     p. 235: 4-19).

    RESPONSE: Admit Doe testified to the above.

133. John Doe testified that Seann Kalagher harassed him because he had predetermined opinions
     about him based off previous encounters with him, even though Seann Kalagher was not the
     hearing officer in the student conduct case when he assaulted another student and was
     sanctioned. (Exhibit D, Pl’s Depo Tran., p. 232: 13-25; p. 233: 1-18; Exhibit H, MB Depo
     Tran., p. 174: 10-12).

    RESPONSE: Deny characterization of Doe’s testimony. Doe’s testimony speaks for itself.

134. John Doe testified that Vincent Contrucci, Terri Johnson, and Seann Kalagher intended to
     intentionally inflict emotional distress upon him because he was “treated poorly” and “wasn’t
     listened to” by the defendants, despite the fact that Vincent Contrucci met with the plaintiff
     and Attorney Katz, the plaintiff and his father, the plaintiff and Attorney Duffy, and he also
     had phone calls with the plaintiff and his advisers. (Exhibit D, Pl’s Depo Tran., p. 237: 12-25
     and 19-24; p. 238: 3-9 and 10-25).

    RESPONSE: Admit Doe testified in substance to the above.

                                              24
     Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 25 of 54




135. John Doe testified that the defendants were reckless in their conduct by how they went about
     their investigation. (Exhibit D, Pl’s Depo Tran., p. 240: 20-25; p. 241: 1-2).

    RESPONSE: Admit Doe testified to the above.

136. John Doe testified that Terri Johnson, Seann Kalagher, and Vincent Contrucci intentionally
     interfered with his contractual relationship with QU by not allowing him to access things
     on campus that he would have enjoyed to. (Exhibit D, Pl’s Depo Tran., p. 237: 2-11).

    RESPONSE: Admit Doe testified to the above.

137. In 2015, John Doe was punched in the face by another student named S.R. After John Doe
     slept with S.R.’s girlfriend, S.R. headbutted his chin. S.R. was found responsible during the
     student conduct disciplinary procedure by Mr. Kalagher, not Ms. Buda. (Exhibit D, Pl’s
     Depo Tran., p. 119: 14-20; p. 120: 20-24; Exhibit F, SK Depo Tran., p. 250: 5-7).

    RESPONSE: Admit.

138. As sanctions, S.R. was suspended from the residence halls for a semester, received deferred
     suspension from the University and a counseling referral. Quinnipiac did not enforce the
     suspension from the resident halls and SR did not live there, affidavit. John Doe does not
     believe that S.R. was treated differently than S.R. in regards to his disciplinary proceedings.
     (Exhibit D, Pl’s Depo Tran., p. 125: 21-25; Exhibit M, SR’s Conduct File, p. 33).

    RESPONSE: Admit first sentence. Deny second sentence. QU issued an NCO but did not
    enforce it, resulting in SR assaulting Doe a second time. Doe believes that SR was given a
    lesser sanction for assaulting him twice and causing serious injuries than the sanction Doe
    would have received of at least 1-year suspension if Doe accepted responsibility for
    allegedly putting his arm across Roe’s neck in self-defense. Ex. 130, ¶¶6-10, 26, 71; Ex. 86,
    p. 69; See infra ¶¶ 42, 43, 44; Ex. 116.

139. In 2015, John Doe was involved in a shuttle bus incident. In September 2015, John Doe
     and three of his friends were beating another student named C.M. People started screaming
     to the driver not to move the shuttle bus for fear of running over C.M. (Exhibit D, Pl’s Depo
     Tran., p. 130:18-20; p. 137: 11-19).

    RESPONSE: Admit first sentence, deny characterization of second and third sentences but
    admit those were the allegations made, CM was male and MB was the NCO Officer. Ex.
    62.

140. John Doe was found responsible for student conduct code violations by Cindy Long Porter
     and received deferred suspension from the university and suspension of shuttle privileges
     as a sanction. (Exhibit D, Pl’s Depo Tran., p. 143:13-23; p. 144: 1-4; Exhibit F, Depo Tran.,
     p. 250: 4-25; Exhibit H, Depo Tran., p. 174: 10-12).



                                               25
       Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 26 of 54



      RESPONSE: Admit.

 141. In 2012, QU was under investigation by the Office of Civil Rights (“OCR”) based on a
      complaint made by a student named J.P. that he was discriminated against during the student
      conduct process based on his ethnicity, not gender. The OCR found that QU engaged in no
      bias, they looked through past cases, found no pattern of bias, and that Mr. Kalagher did not
      make racially insensitive statements. (Exhibit F, SK.Depo Tran., p. 26: 20-25; p. 27: 1-25;
      p. 28: 1-13).

      RESPONSE: Admit first sentence. Admit Kalagher testified to second sentence. Plaintiff
      requested documents in discovery related to this investigation and nothing was produced.
      Ex. 89, p. 8 #11; See infra, ¶147.

 142. Since 2012, in cases in which a determination was made, 22 out of 43 male students charged
      with sexual assault or sexual misconduct were found not to be responsible. (See QU Title
      IX Spreadsheet, attached as Exhibit N).

      RESPONSE: Admit 43 male students were charged with T9 violations between 2012 up
      to and including 2017 based on one spreadsheet created by QU. Def. Ex. N. Deny 22 male
      students were found not responsible. Nineteen males were found not responsible. Ex. N.

 143. Since 2012, in cases in which a determination was made, 2 out of 4 female students charged
      with sexual assault or sexual misconduct were found not be to be responsible. (See QU
      Title IX Spreadsheet, attached as Exhibit N).

      RESPONSE: Admit based on Ex. N.

 144. Since 2012, Mr. Kalagher conducted and arranged trainings for all Title IX investigators
      and hearing board members throughout the year. (Exhibit F, SK Depo Tran., p. 80: 14-20).

      RESPONSE: Admit trainings were arranged and available to all Title IX investigators and
      Board members. See infra ¶¶225, 226.

                              Plaintiff’s Additional Material Facts

      145.    The DCL, which began a sea change in federal government enforcement of T9,

required colleges to aggressively pursue sexual assault focusing on female victims. The DCL was

followed by Connecticut state law and federal law and guidance reinforcing the DCL. Beginning

in 2011, colleges were increasingly criticized for failing to protect females from sexual assault

with the threat of OCR investigation, loss of federal funds and lawsuits, which captured much

media attention through July 2017. Exs. 65 - 79; Ex. 119.

                                               26
       Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 27 of 54



      146.     Defendants and members of QU’s T9 team were aware of the evolution in T9

enforcement due to the DCL, and subsequent federal and state laws and guidance, and the pressure

to comply with the DCL or lose federal funds due to the media, conversations in professional

educational organizations and through training provided by SK. Ex. 3 (SK), p. 3, 6-14; Ex. 13

(MT), pp. 17, 14-20; 35, 4-13; 47, 16-19; Ex. 10 (MaD), pp. 44, 6-25; 45, 1-4; Ex. 9 (SF), pp. 92, 7-

25; 93, 1-25; 96, 9-14; 260, 23-25; 261, 1-2, 7-10; Ex. 8 (MoD), pp. 67, 1-25; 78, 14-18; 79, 1-25;

Ex. 5 (CM), pp. 78, 5-25; 76, 1-25; Ex. 6 (MB), pp. 17, 1-25; 18, 11-14; 18, 1; 67, 19-25; 68, 1-5; 75,

20-25; 79, 15-25; 80, 21-25; 81, 1-14; , 139, 2-22; 140, 11-18; 141, 7-12; 142, 1-3; 18-25; 143, 15-

22; Ex. 7 (KK), pp. 38, 1-6; 59, 4-22; 60, 1-2, 6-10; 300, 6-11, 14-19; Ex. 1 (VC), pp. 236, 18-25;

238, 5-17; 576, 21-25; 577, 11-16, 21-25; Ex. 2 (TJ), pp. 23, 22-25; 26, 1-25; 28, 8-10; 45, 3-24; 48,

19-25; 81, 12-25; 82, 1-25; 83- 1-25; 84, 1-25; 85, 1-25; 86, 1-23; 91; 5-25; 99, 1-25; 100, 20-25;

101, 1-25; 102, 1-25; Ex. 4 (AH), pp. 421, 24-25; 422, 1-2, 8-14; Ex. 3 (SK), pp. 52, 6-11; 80, 1-25;

99, 14-25; 100, 8-25; 102, 1-25; 103, 1-25; 104, 1-25; 106; 1-25; 112, 1-5; 114, 1-25; 115, 1-25; 151,

17, 23-25; 152, 1-25; 153, 1-22, 22-25; 154, 1-17.

      147.     In 2012, (1) QU was investigated by OCR for discrimination in its student conduct

process for a complaint involving a male assaulting his girlfriend; (2) OCR received a complaint

for gender discrimination under T9 against QU; and (3) the Second Circuit upheld the district court

ruling that QU had discriminated against women in violation of Title 9, which resulted in a consent

decree under which QU was monitored for its compliance with Title 9 and required to submit

yearly reports until at least June 2016. Ex. 124; Ex. 8 (Mo)D, pp. 19, 15-25; Ex. 5 (CM), p.77, 5-

22; Ex. 13 (MT), pp. 6, 16-25; 16, 15-21; 30, 19-25; 31, 1-2; 43, 16-19; 47, 16-19; Ex. 10 (MaD),

p. 18, 14-25; Ex. 9 (SF), p. 261, 7-11; Ex. 12 (LC), pp. 208, 14-25; 209, 1-7; Ex. 3 (SK), pp. 26,




                                                  27
       Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 28 of 54



20-25; 27, 1-25; 29, 2-25; 30, 1-3. Ex. 6 (MB), p. 8, 11-14; Ex. 2 (TJ), p. 23, 22-25; Ex. 4 (AH),

p. 422, 1-14.

      148.      SK and MD created QU’s T9 policy in 2012 and QU began to implement

educational programming focused on female victims of sexual assault to increase reporting to

comply with the DCL. Exs. 73, p. 17; 74, p. 17; Ex. 3 (SK), pp. 51, 1-25; 52, 1-2; 54, 1-20; 118,

15-24; 49, 23-25; 50, 11-16; 58; 25; 54, 1-7; 54, 14-20; 62, 4-11; 74, 8-18. Ex. 2 (TJ), pp. 63, 13-

22; 70, 6-25; 71, 10-22; 75, 12-13; 133, 11-15; 139, 21-25; Ex. 9 (SF), 74, 10-20; 75, 3-4; 107, 3-

22; Ex. 8 (MoD), 41, 1-25; 56, 21-25; 57, 1-18; 58, 9-15; 68, 1-17; 73, 1-16; 78, 1-25; 93, 4-12;

95, 3-7; Ex. 5 (CM), pp. 38, 17-25; 39, 12-20; 40, 3-24; 41, 1-25; 63, 1-25; 64, 1-25; 65, 2-5, 13-

16, 21-25; 94, 6-8, 19-22; 111, 22-25; 112, 1-25; 113, 1-15; Ex. 6 (MB), pp. 65, 2, 9, 22-24; 66,

1-10; 76, 1-23; 77, 1-9; Ex. 7 (KK), pp. 62, 13-22; 80, 21-25; 81, 1-15; Ex. 3 (SK), pp. 50, 9-22;

10-25; Ex. 2 (TJ), pp. 64, 21-25; 65, 1-25; 73, 1-25; 84, 1-25; 87, 2-24; 88, 17-25; 89, 1-25; 90, 5-

25; 91, 1-20; 104, 1-25; 105, 4-23; 111, 1-12; 114, 6-12; Ex. 13 (MT), pp. 54, 9-25; 55, 1-13; Ex.

12 (LC), pp.- 45, 2-16; 65, 1-20; 71, 1-25;72, 1-12; 73, 15-23; 74, 15-25; Ex. 4 (AH), pp. 70-74,

1-25; 86, 10-15.

      149.      As a result of QU’s implementation of it, the DCL and QU’s investigations of

sexual misconduct rose from 1 in 2012 to 11 in 2013 and 14 in 2014. Between 2012 and through

2017, QU investigated 36 T9 complaints brought by women against men and 3 brought by men

against women; found 18 men responsible when accused by a woman, and only one woman

responsible when accused by a man; expelled or dismissed six male respondents and no female

respondents, suspended three male and no female respondents; and imposed deferred suspension

on fifteen male respondents and only one female respondent. Ex. N.




                                                 28
       Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 29 of 54



      150.     QU did not provide sufficient notice for Doe to prepare for his interview, they did

not inform him he was a respondent or who the complainants were but informed him they were

investigating a complaint that has been brought forward to the university in violation of T9 policy.

Ex. 2TK, pp. 164, 18-25; 165, 1-3, 5-15; Ex. 3SK, pp.188, 1-23; Ex. 1VC, Vol. pp. 1- 108, 12-20;

Ex. 1VC, Vol 2, pp. 377, 1-2, 4-5, 16-21; 378, 4-25; 379, 1-10; 384, 24-25; 385, 1-9; 386, 8-12,

21-25; 387, 11-14; 388, 4-19; 393, 9-25; Ex. 4AH, pp.260, 23-25; 263, 13, 18-25; 264, 1; 331, 8-

25; 332, 1-17; 334, 2-8; 335, 6-14; 342, 1-19; Ex. 5CM, pp. 172, 3-10; 18-21. Ex. 81.

      151.     QU did not give Doe or the Board the audio recordings that Roe provided in INV.

They only provided the transcript preventing Doe from fully defending himself and the Board from

hearing relevant evidence. Ex. 4AH, pp. 316, 11-25; Ex. 5CM, pp. 197, 2-15; Ex. 1VC, pp.- 249,

6-25; 250, 1-25; 251, 1-25; 252, 1-25; 253, 1-25. Ex. 130, ¶24; Ex. 86, Appendix Dviii.

      152.     QU chose to interview most of witnesses and the parties on the phone when QU’s

best practice is to speak in person. Ex. 2 (TJ), p. 154, 2-20; Ex. 1 (VC), pp. 181, 6, 8, 14-25; Ex.

86; pp. 52; 57, 58; Ex. 130, ¶18.

      153.     QU did not re interview Roe, Roe2 or their witnesses after Doe’s interview to

question them about the new relevant information he had provided in his defense. Ex. 7 (KK), pp.

196, 8-9; 16-18; 21-22; 199, 2-13; Ex. 6 (MB), pp. 110, 7-25; 111, 1-7; Ex. 5 (CM), pp. 132, 12-

25; 133, 1-15; 134, 1-17; 213, 18-25; Ex. 9 (SF), pp. 134, 22-25; 135, 1-25; 136, 1; Ex. 4 (AH),

pp. 262, 20-25; 263, 1-12. Ex. 86.

      154.     After investigators interviewed Roe, Roe2 and 12 of their witnesses, they had

decided Doe was responsible. Investigators did not believe Doe since his initial interview when

he denied the allegation, which denial they characterized as flippant. Ex. 5 (CM), pp. 131, 6-13;




                                                29
       Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 30 of 54



20-25; Ex. 12 (LC), pp. 88, 2-7; Ex. 4 (AH), pp. 274, 1-16; 345, 14-25; 346, 3-9; 347, 7-15. Ex.

130, ¶¶18, 20-21.

      155.     There is evidence that Roe brought her complaint because she was hurt and angry

and wanted revenge that Doe broke up with her and she did not want him to file a restraining order

so she could not walk at graduation, but Investigators never questioned Roe about the alternate

theory of motive. Ex. 22 generally, and specifically pp. 3-5, 15-16. See infra ¶¶156, 151; Ex. 130,

¶¶13-16, 19.

      156.     Roe’s expressed fears of Doe concerned Doe bringing legal recourse and getting a

restraining order against her. Ex. 22, pp. 15-16; Ex. 86, pp. 8, 17, 34, 35; Ex. 4 (AH), pp. 275, 12-

23; 276, 1-25; 278, 1-25; 279, 1-25; 280, 5-20; 431, 12-23; 432, 2-12; 433, 2-13.

      157.     Doe sent Roe a cease and desist letter before he was aware of her complaint, which

he gave to VC on August 23, 2016 in support of Roe’s motive to file this complaint maliciously.

VC did not include the Cease and Desist letter in the RR or question Roe about. Ex. 1 (VC), pp.

255, 13-25; 404, 2-19; Ex. 86; Ex. 133; Ex 130, ¶¶15, 55.

      158.     The Investigators did not question anyone about any evidence that was provided,

follow up on the evidence to ensure it was reliable or gather relevant information, which is

inconsistent with QU’s training and T9 (forensic). Ex. 130, ¶55; Ex. 1 (VC), pp. 131, 8-25; 143,

15-25; 144, 1-25; 145, 1-25; 146, 1-25; 147, 6, 12-25; 148, 1-7; 190, 18-25; 191, 1-10, 15-25; 192,

1-25; 215, 4-24; 216, 1-17; 258, 1-25; 259, 1-25; 260, 1-25; 261, 1-25; 262, 1-8; 278, 1-25; 315,

1-25; 316, 1-25; 317, 1-25; 445, 1-25; 446, 1-6; Ex. 2 (TJ), pp.146, 7-25. Ex. 66, p. 25.

      159.     Investigators did not interview Doe’s mother or father when they knew each had

relevant information, and did not follow up sufficiently on his other witnesses See also, supra,

¶¶20, 21, 22; Ex. 1 (VC), pp.175, 3-10; 414, 23-25; 415, 1-22; 416, 13-25; 417, 1-25; 418, 1-22;



                                                 30
       Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 31 of 54



419, 6-22; 434, 1-25; 436, 1-25; 437, 1-25; 438, 1-7; Ex. 3 (SK), pp. 268, 11-25; Ex. 4 (AH), pp.

353, 13-25; 354, 1-25; 355, 1-25; 356, 1-23; 366, 1-25; 367, 1-25.

      160.     Roe and Roe2 told investigators they spoke to each other and their witnesses before

Roe2 and the witnesses spoke with the investigators but AH and VC did not ascertain the dates

when they spoke to the witnesses to rule out bias. The investigator allowed the females to contact

their witnesses before investigator contacted them against QU’s best practice. Investigators never

questioned Roe or Roe 2 about their relationships with each other and witnesses, such as friends,

sorority sisters, family to explore bias. Ex. 4 (AH), pp. 302, 24-25; 303, 12-25; 304, 1-25; 305,

3-21; 306, 12-25; Ex. 1 (VC), pp. 139, 1-25; 140, 1-25; 141, 3-25; 142, 1-10; 187, 1-14; 193, 12-

24; 202, 20-25; 203, 1-25; 204, 1-25; 205, 1-25; 206, 1-13; 217, 7-25; 223, 5-25; 224, 9-25; 225,

1-4; 242, 11-23; 243, 10-21; 247, 12-25; 248, 1-10; 254; 2-25; 255, 1-12; 257, 1-8; 272, 6-14; 273,

12-25; 274, 1-17; 276, 1-25; 277, 6-25; 278, 1-8; 332, 1-25; 333, 1-25; 334, 7-25; 335, 1-19; 443,

9-25; 444, 1-25; Ex. 86; Ex. 22, pp. 4,5; See Def’s Answer, ¶49.

      161.     The RR is replete with examples that show the investigators were friendlier to Roe

and Roe2 and their witnesses than to Doe, using first name basis and responding quicker and with

more detail than they did to Doe. See Ex. 86, D, J, A and C; Ex. 1 (VC), pp. 244, 1-12; Ex. 86,

73.

      162.     In INV1, the investigators permitted one of Roe and Roe2s witnesses, AS, to review

and make changes to her interview notes in the RR before it was finalized. Ex. 1VC, pp. 457, 1-2,

13-25; 458, 1-25; 460, 13-17, 22-25; Ex. 86, App. A, Aiii; Ex 82.

      163.     INV1 the investigators bent over backwards and were solicitous toward the

complainants in addressing their alleged fear of Doe’s reaction to the complaint. See RR. For

example, investigators agreed to notify the complainants and witnesses when Doe was notified of



                                                31
       Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 32 of 54



the charges, informed them of the NCO and other avenues they had if they felt threatened and

asked if they were afraid of Doe but never asked Doe if he was afraid of them or followed up on

his allegations of harassment by Roe. Ex. 86, pp. 17, 24, 25, Aiv, Dix; Ex. 56, p. 11; Ex. 1 (VC),

369, pp. 20-25; 370, 1-8, 12-25; 371, 17-25; 372, 1-25; 373, 1-23; 441, 3-15; 442, 1-6.

      164.     When the investigators lost their notes in INV1, they could not recall the substance

of Roe’s words but recalled that she was emotional and very upset, something they thought was

significant by itself to put in the RR as evidence that she was credible. Ex. 1 (VC), pp. 369, 2; 481,

6-25; 482, 1-9; Ex. 4 (AH), pp. 380, 1-25; 381, 1-20. Ex. 86, p. 73.

      165.     The investigators lost their notes of the last two findings meetings with Roe and

Roe2 and permitted Roe and Roe2 to recreate what they said during those interviews. Investigators

did not permit Doe to recreate his meeting with them after they lost notes of his interviews. Ex. 1

(VC), pp. 508, 10-25. 60, Dxiv; Jxii.

      166.     Investigators did not include a rationale in the RR as required by QU training and

federal law which also required investigators to include all relevant information and interview

witnesses whether or not requested by a party. Ex. 4 (AH), pp.133, 6-17; 253, 1-17; 315, 6-17; Ex.

3 (SK), pp. 261, 1-17; 271, 1-10; Ex. 12 (LC), pp. 87, 8-15; Ex. 1 (VC), Vol. 1, pp. 107, 6-25; 133,

3-14; 178, 1-10; 214, 6-25; 244, 1-25; 245, 1-17; 247, 7-11; Ex. 1 (VC), Vol. 2, pp. 312, 15-24; ,

313, 8-25; 314, 1-15; 341, 19-25; 343, 1-25; 344, 1-8; 515, 1-9; Ex. 64, p. 5; Ex. 88.

      167.     Investigators interviewed Roe’s mother even though she did not request it. Ex. 86,

Dvii; Ex. 1VC, pp.– 244, 1-25; 245, 1-17; 247, 7-11.

      168.     October 25th, after the investigation was closed, was the first time Doe had seen the

report, and the evidence against him or knew who had been interviewed. When Doe and his father

asked what evidence QU relied on to make these findings, Contrucci emphatically held a single



                                                 32
       Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 33 of 54



photo that Roe had submitted that purportedly showed red marks on her neck as evidence that Doe

had choked Roe and waved it at them in an accusatory and disdainful manner. Ex. 1 (VC), pp.–

124, 3-17; 485, 11-24; 490, 6-25; Ex. 4 (AH), pp. 383, 3-25; 385, 2-25; 386; 1-25. Ex. 130, ¶24,

25; Ex. 132 ¶8.

      169.      When Doe read the RR, he became very anxious and stressed when he learned that

QU did not follow T9 and its own policies and procedures, had treated the women much more

favorably than him, and had given him only 3 days to process the information and respond to it.

The timing problematic due to Doe’s academic schedule and his documented disabilities and he

knew he needed more time to effectively respond to the RR. Ex. 130, ¶¶ 24, 26, 27; Ex. 131, ¶6;

Ex. 132, ¶10.

      170.      Doe presented evidence that Roe’s allegations of choking were false and neither

the Board nor investigator in INV1 or INV2 ever questioned Roe about the evidence. QU never

asked questions of Roe or her witnesses about the internal inconsistencies between their five

different reports, of the choking incident and the only witness that Roe told investigators would

corroborate her choking story did not. Ex. 1VC, Vol. 1, pp. 149, 1-20; 150, 3-25; 151, 1-25; 152,

1-25; 153, 1-25; 272, 19-25; 273, 1-12; Ex. 1VC, Vol. 2, pp. 308, 6-25; 309, 1-25; 310, 1-25; 311,

1-7; 345, 4-25; 346, 1-25; 347, 1-25; 405, 8-25; 406, 1-25; 407, 1-25; 408, 1-25; 409, 1-15; Ex.

4AH, pp. 350, 12-25; 351, 1-25; 352, 7-18. Ex. 22, pp. 6-10; Ex. 86, DCvi, viii, xi, xii, 12, 36, 37,

22, 54, 58, 59, DC; Ex. 85.

      171.      QU errs on the side of the Respondent when the only evidence is the complainant

and respondent’s word based on QU’s training. Ex. 4AH, pp. 140, 6-25; 141, 1-18; Ex. 1VC, pp.

524, 12-17; 525, 23-25; 526, 1-25; 527, 1-5, 8-12.




                                                 33
       Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 34 of 54



      172.     Investigators in INV1 did not use the preponderance of evidence standard. They

found “sufficient information to conclude that there may have been violations of the Title IX Policy

and student code of conduct” and “believe that the following may have been breached” by Doe.

Ex. 86, p. 4. QU’s T9 Policy provides investigators will charge a student if it is “supported by the

investigation findings.” Exhibit 14, p. 16. The evidence by itself did not support that it was more

likely than not that Doe was responsible for IPV, which was bolstered by the fact that Roe and

Roe2 did not deny his allegations of their stalking, IPV and sexual harassment against them and

that the investigative findings were based on evidence after January 2015 when Doe and Roe2

were no longer in an intimate relationship, which was outside of the time frame to fit the definition

of IPV for Roe2. Ex. 1 (VC), pp. 517, 1-25; 518, 1-7; 520, 20-25; 521, 1-24; 522, 1-25; Ex. 4

(AH), pp. 155, 18-21; 156, 1-25; 157, 1-21; 397, 17-25; 400, 1-25; 401, 1-25; 406, 20-23; 407, 3-

20; Ex. 9 (SF), pp. 130, 7-18. Ex. 86, p. 4; Ex. 14, p. 11; Ex. 22; Ex. 86, pp. 53-63, 68-70. See

supra ¶10; See infra, ¶186.

      173.     KK and LC, in INV2 purported to use the preponderance of evidence standard but

did not apply it correctly based on the weight of the evidence they reviewed and their reliance on

the biased from INV1 and the Board’s finding of responsibility for Doe in Inv1 as well as basing

their findings on inaccurate facts. Ex. 7 (KK), pp.189, 3-15; (see infra ¶213, and supra ¶66).

      174.     The Board did not apply the preponderance of evidence based on the evidence they

reviewed. The Board used the wrong definition of IPV with less elements to prove, used evidence

outside the time frame for IPV for Roe2, and relied solely on the RR and appendices and not Doe’s

Response. The weight of the evidence showed Roe and Roe2 were not afraid of Doe, which was

bolstered by the fact that neither Roe or Roe2 ever denied Doe’s allegations regarding their conduct




                                                 34
       Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 35 of 54



in the responses to the INV1 in October, or to Doe’s Response or at the hearing. Doe Ex. 23, pp.

6-19; Ex. 86, pp. 53-63, 68-70; Ex. 51. See supra, ¶66.

      175.     Kalagher trains QU’s T9 team to apply the definitions in its T9 policy. Yet Buda

testified that one instance is sufficient for a pattern in IPV and the Board used and relied on the

wrong definition with less elements to prove of IPV in finding Doe responsible. Ex. 2 (TJ), pp.160,

12-25; 291, 18-20; 293, 1-25; 294, 11-25; 296, 1-4; Ex. 3 (SK), pp.171, 6-25; 172, 1-22; 173, 1-

19, 17-19; 349, 1-14; Ex. 1 (VC), pp. 245, 19-25; 246, 1-25; 295, 1-25; 296, 1-25; 297, 1-25; 298,

1-25; 299, 1-25; 300, 1-25; 301, 4-21; Ex. 4 (AH), pp. 169, 1-4; 170, 21-25; 171, 1-25; 172, 1-25;

173, 4-25; 174, 18-25; 175, 1, 6-25; 176, 5-6; Ex. 6 (MB), pp.125, 6-25; Ex. 5 (CM), pp. 247, 2-

24; Ex. 12 (LC), pp. 94, 9-25; 98, 14-19; Ex. 7 (KK), pp.129, 1-13; Ex 14, pp. 9-11; Ex. 51; Ex.

88, p. 4; Ex. 6 (MB), pp. 284, 1-15; 285, 1-25; 286, 1-25; 287, 1-3; 288, 1-25; 289, 10-20; 290, 1-

20.

      176.     The investigators used evidence outside of the time Roe2 and Doe were in an

intimate relationship, to find Doe responsible for IPV. Ex. 86, p. 4; Ex. 1 (VC), pp. 527, 24-25;

528, 1-18. (see supra ¶66).

      177.     Investigators in INV2 used the correct definition of IPV to find Roe not responsible

for IPV. Ex. 60, pp. 25-27; Ex. 12 (LC), pp. 193, 4-23; Ex. 7 (KK), pp. 257, 13-18; 249, 11-25;

250; 1-25; 251, 1-25; 252, 1-25; 253; 1-25; 254, 1-25.

      178.     Johnson did not follow the T9 policy when she failed to speak with Doe or

investigate his allegations of gender bias by the investigator in INV. 1 set forth in Doe’s 2/1/17

letter to Johnson, and failed to report this to Mark Thompson or his designee. For complaints of

gender discrimination in a QU program, QU will dismiss a complaint only if the allegations, even

if true, would not constitute a violation of T9 policy. Ex. 56, p. 1, 2, 14-15; Ex. 13MT 71, 7-23;



                                                35
       Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 36 of 54



Ex. 2TJ, pp. 156, 1-22; 157, 1-12; 158, 6-13, 19-25; 159, 1-25; 194, 12-24; 195, 3-25; 197, 1-14;

198, 4-9; 199, 3-25; 200, 2-14; 201, 1-7, 19-25; 202, 6-22; 203, 11-25; 205, 3-8, 18-25; 217, 22-

25; 218, 1-21; Ex. 3SK, 70, 2-5; Ex. 14, pp. 7-8.

      179.     Doe’s allegations and evidence in Inv1, including his Response, constituted

possible violations of T9 by Roe and Roe 2 and met the threshold for QU to both conduct an initial

investigation and to open a formal investigation. Ex. 14, pp. 15, 16; Ex. 86, pp. 6, 53-63, 68-70,

Ciii, Civ. Ex. 22, 6-19; Ex. 3 (SK), pp. 181, 8-11, 13-15, 18-23; See infra, ¶199.

      180.     In his February 1st letter to Johnson and on April 6, 2017, Doe through counsel

inquired whether QU was amenable to discussing a way to resolve the disciplinary process without

a Hearing to avoid serious emotional distress to him. On April 11, 2017, QU informed Doe that it

was not amenable to resolving the disciplinary process without a hearing and that the Hearing

would proceed as scheduled. Having heard no response and becoming increasingly distressed and

anxious as he tried to prepare, on April 18, 2017, Doe emailed again stating he had received no

answers. Ex. 130, ¶¶37, 38; Ex. 56; Ex. 58; Ex. 134.

      181.     At the hearing, Doe was not permitted to rebut any information or ask questions of

anyone. He was only permitted to participate by answering questions posed by the Board. Ex. 14,

pp. 16, 17; Ex. 35; Ex. 138; Ex. 1 (VC), Vol. 2, p. 560, 1-25; Ex. 6 (MB), pp.164, 11-25; Ex. 5

(CM), pp. 179, 13-25; 180, 1-25; Ex. 8 (MoD), pp. 154, 6-25; Ex. 12 (LC), pp. 102, 15-25; 103,

1-6; Ex. 9 (SF), pp. 143, 9-25; 144, 1-25; 145, 12-25; Ex. 138.

      182.     The Board asked Doe and Roe less than 5 questions, and asked no questions of

Roe2, the investigator or any witnesses, relying primarily on the RR for its decision. The Board

did not ask Roe or Doe about Doe’s Response or Doe’s allegations of sexual misconduct and

harassment by Roe other than asking Roe if she read Doe’s texts, which she said she had not. Ex.



                                                36
       Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 37 of 54



7 (KK), pp.146, 5-25; 147, 1-21; Ex. 9 (SF), pp.180, 5-23; 183, 2-18; 184, 1-25; 188, 1-6;1, 3-25;

212, 1-25; Ex. 4 (AH), pp.155, 1-12; Ex. 6 (MB), pp. 165, 7-23; 168, 10-13; 184, 1-25; 209, 23-

25; 210, 1-21; 225, 1-19; 226, 3-25; 227, 1-15; 228, 1-25; 229, 6-25; 234, 4-23; 235, 1-5, 9-15;

17-25; 236, 1-6, 17-25; Ex. 5 (CM), pp. 186, 21-25; 208, 9-13; 234, 1-5; 237, 3-15; Ex. 12 (LC),

pp.105, 2-11; Ex. 130, ¶¶57, 58.

      183.     At the hearing, Roe and Roe2 did not deny the allegations Doe made in Response

or his three interviews. At the hearing, Roe2 did not deny the allegations Doe made in Response

or his three interviews. Roe2 did not attend. Ex. 130 ¶¶58, 72; Ex. 86, Dxiv, Jx.

      184.     Over the video conference, the Board appeared to be visibly moved by Roe’s

emotion. When Contrucci retrieved Doe to escort him to the Hearing room, Contrucci was tearing

up and appeared to be visibly shaken by Roe’s emotional interview and peered at Doe with disdain.

Ex. 130, Ex. 130, ¶¶ 62, 63.

      185.     Roe was crying and upset at the Hearing. Ex. 3 (SK), pp. 343, 1-4; Ex. 130 ¶60.

      186.     MB, Chair of the Board, believed it could be Doe’s responsibility to prove he is not

responsible. Ex. 6 (MB), pp. 227, 20-25; 228, 1-12.

      187.     The Board’s rationale did not include the necessary elements for IPV. The Board

concluded that Roe and Roe2 were credible “as corroborated by numerous witness statements,”

most of which contained no personal knowledge of the specific incidents under investigation and

relied on the “thoroughness of the investigative report along with the appendices” but not Doe’s

Response in finding Doe responsible. Ex. 51, pp, 1-2.

      188.     The Board did not include a rationale for its sanctions, in violation of QU’s training.

Ex. 51, p. 2; Ex. 64, p. 1; Ex. 88, pp. 1-8. Ex. 6 (MB), pp. 256, 6-25.




                                                 37
       Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 38 of 54



      189.     The purpose of a sanction in T9 cases is not punitive, yet MB imposed a punitive

sanction. Ex. 2TJ, pp. 298, 1-25; 299, 1-3; Ex. 3SK, pp. 201, 9-23; 202, 1-12, 16-17; Ex. 6MB,

pp. 258, 3-25; 259, 1-25; Ex. 8MoD, pp. 50, 10-25; 51, 1-4; 52, 1-10.

      190.     Doe was not permitted to attend Senior week, which is the culminating event at

QU, and his family was not permitted to attend any social events tied to graduation which was a

source of shame and humiliation for him and increased his anxiety. No one at QU offered to

consider any options to allow Doe or his family to attend even portions with safety for Roe in

mind, despite numerous requests which was devastating to them all as they had all overcome

challenges with Doe’s disabilities. Ex. 130, ¶69; Ex. 132, ¶10; Ex. 131, ¶¶15, 16.

      191.     In light of the struggle he had with Johnson and her unreasonable denial of his

internship with no explanation, Doe had no reason to believe she would grant permission to attend

any events or access campus resources. See infra, ¶115. Ex. 130, p. 73.

      192.     TC was a witness for Roe who was interviewed in INV1 and was her advisor in a

subsequent interview and at her Hearing. The emails to Roe and Roe2 and Doe all contained

notification they could bring an advisor to the interview but only Doe’s contained the language

‘who is not involved in the investigation.’ Ex. 1 (VC) Vol. 1, pp. 113, 2-5; 114, 6-15; 116, 11-25;

172, 14, 17-19; Ex. 8 (MoD) pp. 147, 21-25; 148, 10-18; Ex. 12 (LC), p. 102, 7-16; Ex. 2 (TJ), pp.

173, 14; 174, 1-7; 224, 8-20; 225, 1-21; Ex. 6 (MB) pp. 161, 8-25; 214, 1-18; 215 1-18; Ex. 7

(KK), p. 133, 1-15; Ex. 4 (AH), pp. 188, 12-25; 190, 1-25; 335, 1-25; 337, 2-17; 378, 4-25; Ex. 1

(VC), Vol. 2, pp. 376, 9, 18-24; 467, 10-20; 481, 6-9; Ex. 9 (SF), p. 141, 15-25; Ex. 86, pp. 18, 72,

73; Ex. 92; Ex. 130, ¶59.




                                                 38
       Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 39 of 54



      193.     QU did not alert Doe to the fact that TC had been involved in numerous T9

investigations as a witness so Doe could address related credibility issues or conflicts with

investigators or in his Response. Ex. 86.

      194.     Doe’s father was his advisor in two interviews, provided relevant information to

the investigators who declined to interview him as witness or include his information in the RR.

Ex. 3 (SK), pp. 270, 1-8. See infra, ¶20. Ex. 132, ¶5.

      195.     Doe was shocked when he heard Contrucci’s angry and defensive summary during

which he addressed the concerns Doe raised in his Response about bias for the first time and told

the Board that Doe had been untruthful when Doe wrote he had provided the cease and desist letter

to Contrucci in August. Doe was devastated when he could not respond to the summary at the

Hearing and defend himself in such a serious matter where he believed he was facing at least a 1

year suspension. Ex. 6 (MB), pp. 231, 1-14; Ex. 5 (CM), pp. 231, 3-8; Ex. 9 (SF), pp. 220, 21-25;

222, 1-16. Ex. 130, ¶54, 56; See supra ¶63.

      196.     Under QU’s T9 policy an appeal will be granted if the appeal letter itself brings

forward sufficient grounds, at which point the appeal officer has four options. Ex. 14, pp. 19, 20;

Ex. 2 (TJ), pp. 180, 1-25; 181, 1-22; Ex. 8 (MoD), pp. 143, 1-18; Ex. 3 (SK), pp. 202, 13-25.

      197.     Doe’s appeal letter itself brought forth sufficient grounds on the 2 grounds that he

raised but Drucker went behind the papers and conducted an ex parte investigation and determined

that the appeal letter raised insufficient grounds on all bases but one because she “believed Vincent

and Meghan and Sean and Terri.” Ex. 8MoD, pp. 242, 18-20. Drucker designated on appeal panel

to decide which option to pursue regarding the issue of the investigation lasting more than 60 days,

which is not an option in the Title IX policy. Ex. 14, p. 15; Ex. 93; Ex. 94; Ex. 95; Ex. 8 (MoD)

175, 11-25; 176, 1-20; 177, 1-25; 189, 12-25; 190, 17-25; 191, 17-25; 192, 23-25; 193, 1-9, 22-



                                                 39
       Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 40 of 54



25; 194, 1-13; 195, 7-25; 196, 1-25; 197, 1-25; 198, 1-25; 199, 1-25; 200, 1-25; 201, 1-21; 202, 1-

7, 14-25; 203, 1-7, 24-25; 204, 1-3,17-25; 205, 1-25; 207, 1-20; 208, 8-15; 18-25; 209, 1-24; 210,

6-25; 211, 1-25; 212, 7-25; 213, 9-25; 214, 7-25; 215, 7-10; 216; 2-25; 217, 1-23; 218, 1-25; 219,

1-25; 220, 13-18; 221, 6-25; 222, 1-10; 14-25; 224, 5-23; 225, 1-12; 226, 9-25; 227, 1-25; 228, 6-

25; 229, 1-14; 231, 1-25; 232, 1-22; 233, 1-25; 234, 1-25; 235, 1-25; 236, 1-25; 237, 12-25; 238,

4-23; 239, 7-25; 240, 6-10; 241, 10-17, 25; 242, 1-21; 243, 8-14, 21-25; 244, 1-25; 245, 1-25; 246,

1-7; 247, 5-25; 248, 14-25; 249, 1-25; 250, 1-25; Ex. 1 (VC), pp. 255, 13-25; 402, 1-25; 403, 1-

25; 404, 1-12, 13-19; 573, 3-12; 17-25.

      198.     Doe told QU that he preferred not to file a formal complaint because he did not

want to escalate the matter or face harassment or retaliation by Roe but did so to have his defense

investigated. Ex. 2 (TJ), pp. 239, 16-25; 240, 1-22; 246, 8-22. Ex. 96; Ex. 130, ¶41.

      199.     Johnson determined there was reasonable cause to open a formal investigation

based on Doe’s complaints and that Doe’s Response met that threshold which is “if what they said

happened could have violated the policy.” Ex. 3 (SK), p. 181, 8-23; Ex. 9 (SF), pp. 133, 17-25;

134, 1-8; Ex. 12 (LC), pp. 133, 18-25; 134, 1-8; Ex. 7 (KK), pp. 127, 21-25; 128, 1-13; 131, 2-17.

      200.     Doe’s formal complaint was based on the same facts and events as INV1. Ex. 40;

Ex. 60, pp. 22-23; Ex. 12 (LC), pp. 152, 6-10; Ex. 86.

      201.     Doe filed the formal complaint on February 27, 2017. QU took almost two months

to begin an investigation after Doe’s formal complaint, when investigators contacted him on April

20, 2017 for an interview. Ex. 140; Ex. 60, pp. 1, 2.

      202.     INV2 took longer than 60 days and QU did not communicate with Doe about the

reasons for its delay in investigating his formal complaint, in violation of the T9 policy. Ex. 60,

p. 17. Ex. 14, p. 15; Ex. 2 (TJ), pp. 248, 8-23; Ex. 12 (LC), pp. 122, 1-21.



                                                 40
         Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 41 of 54



         203.   QU contacted Roe before April 18th before contacting Doe about his complaint on

April 20th. See ¶101, infra. Ex. 59; Ex. 2 (TJ), pp. 271, 22-25; 272, 1-25.

         204.   QU interviewed Roe right after Doe and then conducted 5 witness interviews for

Doe, including his mother and father, and none for Roe. Ex. 60, pp. 2, 11, 15-22; Ex. 7KK, pp.

261, 20-25; 262, 1.

         205.   QU did not interview a witness that was identified as having relevant information

earlier. See infra ¶105.

         206.   QU did not permit Doe’s parents to review their notes when they requested to as

QU did for Roe’s in INV1. Ex. 1 (VC), Vol. 1 pp. 188, 10-25; 189, 15-23; 228, 10-23. See ¶105,

supra.

         207.   The investigators completed their investigation of Doe’s complaint that spanned

the same time frame and facts that Roe’s did on May 12, just 9 days after interviewing Doe and

before they interviewed one of Doe’s witnesses. Ex. 60, pp. 2, 17. Ex. 12 (LC), pp. 170, 8-25;

174, 2-25; Ex. 141.

         208.   INV2 was an independent and separate investigation from INV but investigators

did not conduct independent investigation and interview all relevant witnesses but instead relied

on the RR and the Board’s findings of responsibility against Doe to conclude that Roe was not

responsible for any violation of a QU code. Ex. 60, pp. 22-23. Ex. 12LC, pp. 120, 5-8; 148, 1-

23;149, 3-25; 150, 1-25; 151, 1-25; 152, 6-25; 153, 1-25; 154, 3-25; 190, 11-25; 191, 1-2; Ex.

7KK, pp. 242, 14-25; 243, 1-23; 262, 1-25; 263, 1-25; Ex. 3SK, pp. 307, 10-25; Ex. 2TJ, pp. 282,

14-25; 285, 4-25; 286, 1-25; 287, 9-18; 288, 8-25; 289, 1-11; 300, 1-25; 301, 2-6, 22-25; 316, 10-

25; 317, 1-9; 318, 5-18;




                                               41
       Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 42 of 54



      209.     Roe was not upset or emotional at her interviews in Inv2, but merely

“inconvenienced.” Ex. 7 (KK), pp. 266, 21-25.

      210.     Keith and Carney disregarded Doe’s claims of fear, despite the fact that their report

contained his statements that he was unsafe and afraid, as did other documents they relied on.

Carney disregarded Doe’s claims of fear because he went back to Roe’s apartment yet believed

Roe’s claims of fear even though she repeatedly went back to Doe’s place and Carney may have

treated INV2 differently if Doe was a female. Ex. 60, pp. 8, 25; Ex. 99; Ex. 12 (LC), 161, 11-14;

Ex. 7 (KK), pp. 280, 1-25; 281, 1-10; Ex. 12 (LC), pp. 161, 11-25; 162, 163, 164, 1-25; 165, 1-11;

175, 20-25; 176, 1-9, 17-25; 177, 1-14; Ex. 22, pp. 8.

      211.     The investigators relied on inaccurate timeline to find Roe not responsible in Inv2

relying on Roe’s word in her interview, despite that RR and evidence that conflicted with Roe’s

statement. Ex. 60, p. 25; Ex. 99; Ex. 86, pp. 60-61; Dviii; Ex. 12 (LC), pp. 146, 17-25; 147, 1-25;

Ex. 7 (KK), pp. 236, 21-25; 264, 1, 13, 21, 25; 265, 1-25;

      212.     Investigators in INV2 relied on what Doe wrote in his Response rather than

analyzing the facts to find Roe not responsible for IPV. Ex. 60, pp. 10, 24.

      213.     On May 26th, Doe raised concerns about the inaccurate timeline and facts in INV2

report. Johnson did not look into Doe’s concerns or talk with investigators, but replied almost two

weeks later, that the investigators did nothing wrong and that Doe had no recourse if he did not

agree per QU’s policy. Ex. 99; Ex. 12 (LC), pp. 204, 18-22; Ex. 2TJ, pp. 325, 1-25; 326, 1-25;

Ex. 7 (KK), pp. 275, 3-14; 276, 4-25; Def’s Answer ¶¶149, 150.

      214.     QU used the same evidence in both Inv1 and Inv2, LC and KK concluding in INV2

that Roe and Doe both equally and willfully engaged in certain conduct, the content of texts was

unclear and subjective, they would both purposefully re-engage with each other after breaking up



                                                42
       Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 43 of 54



at different points, that the past practice and conduct in timing of the communications resulted in

groomed and accepted behavior, and that there was no pattern of behavior to establish the requisite

power and control in the relationship. Ex. 60, pp. 5, 22, 23 and 24; Ex. 12LC, pp. 156, 11-25; 157,

8-19; 158, 1-15; 159, 4-25.

      215.     On January 28, 2017, Kalagher was informed that Roe was continuing to harass

Doe. Kalagher responded that the only way QU could act would be if Doe filed a claim of

retaliation or harassment. Ex. 27; Ex. 1 (VC), pp. 367, 3-25; Ex. 7 (KK), pp. 54, 7-19; 55, 15-25;

56, 2-11, 19-25; 57, 1-15; Ex. 5 (CM), pp. 200, 3-21; 203, 13-25; Ex. 9 (SF), pp. 201, 2-22.

      216.     In Doe’s Response, he raised QU’s failure to act on Roe’s harassment. Ex. 22, pp.

1, 21; Ex. 1 (VC), pp. 2, 421, 9-10, 12; 16-23; 422, 1-18, 20; 423, 1-20; 432, 16-25; Ex. 2 (TJ),

pp. 228, 1-25; 229, 7-23; 261, 10-25; Ex. (AH), pp. 357, 14-25; 358, 2-25; 359, 1-3, 10-18; Ex. 5

(CM), pp. 191, 10-25.

      217.     Continuing violations of NCO’s or harassment during an investigation to IPV could

be evidence of the underlying pattern of IPV. Ex. 1 (VC), pp. 367, 3-25; Ex. 7 (KK), pp.54, 7-19;

55, 15-25; 56, 2-11, 19-25; 57, 1-5; Ex. 5 (CM)200, 3-21; 203, 13-25; Ex. 9 (SF), pp. 201, 2-22.

      218.     Doe requested that Roe’s harassing and retaliatory behavior be provided to the

Board since it showed she was not afraid of him. Kalagher provided only one report of Roe’s

continuing harassment to the Board for its consideration. Ex. 102. Ex. 130, ¶¶20, 42, 72.

      219.     QU was aware of Doe’s disabilities since he was a student at QU and specifically

since October 2016 and that he was extremely stressed and anxious due to QU’s handling of his

case and the continued harassment by Roe. Ex. 5CM, pp. 45, 20-25; 46, 1-25; Ex. 1VC, pp. 70,

18-25; Ex. 2TJ, pp. 190, 17-20; 191, 220, 6-23; 1-25; 259, 4-21; 260, 1-9; 264, 24-25; 265, 1-3;

275, 5-6, 9-11; 276, 6-13; Ex. 3SK, 229, 24-25; 230, 1-25; 313, 13, 21-25. Ex. 4 (AH); Ex. 103.



                                                43
       Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 44 of 54



      220.     Doe spoke with his therapist about his anxiety over the unfair

investigation and time pressure to respond to the lengthy document and to get assistance in

receiving extension due to length and complexity of the RR in combination with his disabilities.

Affidavit. Ex. 130, ¶30.

      221.      February 6, Doe also provided to QU a letter from his psychiatrist

documenting Doe’s disabilities, medication and treatment history, and stating that “the current

investigation has been detrimental to [Doe’s] health and well-being, causing extreme stress and

anxiety, in large part because he feels it has been very biased and he is not being given a fair

hearing…a hearing under these circumstances could set off a downward spiral of anxiety and

depression of a magnitude he has never had to deal with.” Ex. 103.

      222.      In February, Johnson knew Doe was extremely stressed and was having trouble

academically after he had raised concerns of being treated unfairly and being the victim of sexual

misconduct yet she never spoke with him or addressed his concerns. Ex. 2 (TJ), pp. 40, 3-17;

220, 16-23; 221, 1-25; 222, 1-25. Ex. 130, ¶¶36, 37.

      223.     QU did not take Doe’s disabilities into account with respect to his underlying

conduct or his credibility in interviews, even though it may have been material. Ex. 9 (SF), pp.

109, 17-25; 110, 1-2, 16-19; 111, 23-25; 112, 1-25; 113, 1-25; 114, 9-25; 197, 16-25; Ex. 12

(LC), pp. 72, 17-25; Ex. 8 (MoD), pp. 138, 1-23; Ex. 139, pp.1-18, 22-25; 140, 1-6; Ex. 5 (CM),

pp.120, 1-23; Ex. 6 (MB), pp. 196, 8-22; Ex. 7 (KK), pp. 102, 16-25; 103, 1-7; Ex. 1 (VC) 502,

6-10, 16, 20-22; 503, 12-25; 504, 1-21. See supra, ¶55.

      224.     Federal and state laws, OCR and QU’s T9 policy require the T9 team

(investigators and Board members), to be trained annually on TIX and on numerous topics,

including how to apply the standard preponderance, how to apply definitions of sexual



                                                 44
        Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 45 of 54



misconduct, respondents’ rights, how to conduct an investigation, how to write a report, how to

assess credibility, and how to conduct an appeal, which training is the responsibility of and

implemented by Kalagher. Ex. 2 (TJ), pp.55, 3-14; 115, 6-25; 116, 1-25; 117, 1-

25; Ex. 9 (SF), pp.118, 10-25; 119, 1-25; 120, 21; 16-22; Ex. 3 (SK), pp. 80, 14-24; 107, 8-14;

113, 10-25; 114, 3-21; 115, 1-24; 118, 9-25; 127, 2-5; 161, 12-25; 162, 5-25; 163, 1-13; Ex.

5 (CM), pp. 127, 1-25; 137, 14; 138, 1-24; 139, 1-16; Ex. 8, pp. 100, 19-25; 101, 1-25; 128, 13-

25; 129, 1-25; 130, 1-6; 131, 12-25.

        225.   SK created training materials that he used to train the T9 team, which included

templates and power point presentations. Ex. 64; Ex. 88; 142; Ex. 2 (TJ), pp.121, 24-25; 122, 1-

4; 123, 4-22; 124, 1-15; 125, 3-8, 17-25; 126, 1-7; 150, 14-21; Ex. 3, pp. 156, 1-25; 132, 1-18;

133, 1-25; Ex. 1(VC), pp.113, 2-22; Ex. 7 (KK), pp.114, 16-25; 116, 18-25; Ex. 6 (MB), pp.111,

11-21; 112, 4-24; 113, 5-25; 114, 17-25; 115, 1-25; Ex. 8 (MoD), pp. 131, 2-11; 160, 18-25; 162,

2-22.

        226.   QU did not require attendance at the T9 trainings, keep records of which

employees attended or evaluate T9 employees on their work. Ex. 2 (TJ), pp. 119, 5-15; 120, 1-5;

Ex. 8 (MoD), pp. 102, 1-4, 23-25; 103, 1-15; 104, 24; 105;1-22; Ex. 6 (MB), pp. 87, 8-25; 91,

21-24; Ex. 3 (SK), pp. 122, 22-25; 123, 1-18; 124, 5-15; 125, 1-25; 134, 2-17; Ex. 1 (VC), pp.

76, 1-5, 8-14; 77, 1-17; 580, 2-15; Ex. 9 (SF), pp. 105, 5-25; Ex. 12 (LC), pp. 54, 1-25; 55, 21-

24; Ex. 4 (AH), pp. 98, 12-24; Ex. 7 (KK), pp. 70, 5-9; 72, 19-22; 73, 2-4.

        227.   VC and AH did not receive training on how to make credibility determination.

Ex. 1 (VC), p. 524, 8-11; Ex. 4 (AH), pp. 143, 1-6.

        228.   MB testified that QU does not have to prove each element of IPV and that one

instance is sufficient to establish a pattern under IPV. Ex. 6 (MB), pp. 284, 1-15; 285, 1-25; 286,



                                                45
       Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 46 of 54



1-25; 287, 1-3; 288, 1-25; 289, 10-20; 290, 1-20.

      229.     The T9 team is required to follow QU’s T9 policy and procedures because that is

fair and because it provides reasonable notice to both students and QU of what each can expect

from each other. Ex. 5 (CM), pp. 121, 4-7, 25; 122, 1-11; 125, 6-25; 126, 15-24; Ex.

9 (SF), pp.115, 4-23; 117, 15-25; Ex. 12 (LC), pp. 75, 22-25; Ex. 1 (VC), pp. 81, 12-22; 226, 12-

16; Ex. 8 (MoD), pp. 122, 1-17; 126, 1-18; 127, 22-25; 128, 1-25; Ex. 3 (SK), pp.158, 3-14; Ex.

2, pp. 143, 5- 23; 144, 16-23; Ex. 13, pp. 49, 22-25; 50, 1-25; 53, 9-16; Ex. 12 (LC), pp. 77, 17-

25; 78, 1-7.

      230.     The QU T9 policy and T9 require responsible employees to promptly report any

information that could be a possible violation of T9 that they know or have reason to know

whether a complainant’s wants it to or decline to cooperate or participate, or files a formal

complaint and QU is required to promptly conduct an initial investigation. Ex. 2 (TJ), pp.126, 8-

25; Ex. 5 (CM), pp.141, 2-24; 142, 10-25; 143, 1-6; Ex. 9 (SF), pp. 120, 22-25; 121, 8-25; 122,

1-8; Ex. 10 (MaD), pp. 51, 22-25; 52, 1-25; Ex. 6 (MB), pp.138, 1-14; Ex. 12 (LC), pp. 94, 23-

25; 95, 3-25; 96, 6-24; 97, 1-25; Ex. 4 (AH), p. 184, 10-25; Ex. 3 (SK), pp. 163, 23-25; 164, 1-

25; 165, 1-25; 256, 23-25; 257, 1-25; Ex. 8 (MoD), pp.158, 8-25; 159, 1-24; 160, 1-18; 205, 9-

25; 206, 1-25; 207, 1-24. Ex. 14; T9 Ex. 14, p. 5; Ex. 65, p. 4; Ex. 66, pp. 14, 5; Ex. 79, p. 4.

      231.     SK and TJ and MD were responsible for editing and revising the T-IX policy,

annually and there have been no substantive changes over the years. Ex. 2 (TJ), pp. 70, 7-16;

139, 3-23; Ex. 3(SK), pp. 58, 1-20; 61, 7-25; 62, 1-20; Ex. 8 (MoD), pp. 47, 11-18; 57, 16-18.

Ex. 116.

      232.     SK required and trained QU’s T-IX team to comply with OCR guidance. Ex. 3

(SK), pp. 111, 13-24.



                                                 46
         Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 47 of 54



         233.   SK required and trained T9 team to put a rationale for a Board’s sanction in its

outcome letter. Ex. 2 (TJ), pp. 150, 14-15, 19-22; 151, 18-20, 23-25; 152, 1-22; 178, 2, 7, 9-23;

179, 7; Ex. 3(SK), pp. 133, 8-25; 136, 10-13; 137, 8-13, 16, 22-25; Ex. 7 (KK), pp.188, 4-5, 7,

10-16, 22-25; 189, 2-4; Ex. 6 (MB), pp. 114, 18-25; 115, 1-22; 123, 21-25; 124, 8-24;

125, 1-25; 126, 3-6; 14-16; Ex. 5 (CM), pp. 164, 5-9, 24-25; 165, 1-7; Ex. 12 (LC), pp. 131, 11-

18, 20-24; 132, 1-18; 188, 17-24. Ex. 88; Ex. 64, p. 4;

         234.   QU’s T-9 policy promises its students that it will comply with Title IX. Ex. 14, p.

1.

         235.   QU’s T-9 policy promises its students that it will provide proper notice to

Respondents. Ex. 3 (SK), pp. 188, 7-15. Ex. 14, p. 21.

         236.   QU’s T-9 policy promises its students that it will provide a fair process for

respondents. Ex. 3 (SK), pp. 168, 9-11. Ex. 14, T9, p. 6.

         237.   QU’s T-9 policy promises its students that it will be supportive of victims. Ex. 14,

pp. 5.

         238.   QU’s T-9 policy promises its students that it will treat parties with respect

throughout the process. Ex. 14, pp. 13, 14.

         239.   QU’s T-9 policy promises its students that it will address concerns of bias and/or

conflict of interest of Committee members. Ex. 14, p. 13.

         240.   QU’s T-9 policy promises its students that it will provide all documents and

names of all witnesses who may be called at least 24 hours before the Hearing not TC. Ex. 14,

pp. 13, 14.

         241.   QU’s T-9 policy promises its students that it will give the parties the right to

challenge information and documents prior to the hearing. Ex. 14, pp. 13, 14.



                                                  47
       Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 48 of 54



      242.     QU’s T-9 policy promises its students that parties may participate in the Hearing.

Ex. 14, pp. 14, 16.

      243.     QU’s T-9 policy promises its students to require the Board to decide the matter by

a preponderance of the evidence based on credible and convincing evidence. Ex. 14, p. 9.

      244.     QU’s T-9 policy promises its students that it will require that investigators and the

Board will use the definitions in the T9 policy. Ex. 14, pp. 9-11.

      245.     QU’s T-9 policy promises its students that it will fully explain its Title IX

grievance process to the parties. Ex. 14, p. 6.

      246.     QU’s T-9 policy promises its students that it will require its employees to respond

to complaints promptly, thoroughly and equitably and conduct unbiased, thorough and equitable

proceedings. Ex. 14, pp. 4, 8, 16, 18.

      247.     QU’s T-9 policy promises its students that investigators will develop a strategic

investigation plan, including a witness list, information list, intended investigation timeframe,

and order of interviews for all witnesses and respondent, which VC did not do. Ex. 3 (SK), pp.

185, 5-11; 17-25; Ex. 1 (VC), pp. 108, 5-13; Ex. 4, pp. 260, 15-20; Ex. 14, p. 16.

      248.     QU’s T-9 policy promises its students that it will give the respondents a right to

present a defense. Ex. 14, p. 6, 14.

      249.     QU’s T-9 policy promises its students that it will not permit witnesses to incidents

or those otherwise involved in the matter before the committee to serve as advisers. Ex. 14, p. 17.

      250.     QU’s T-9 policy promises its students that it will maintain communication with

the parties on the status of the investigation and overall process and if the procedures last longer

than 60 days QU will communicate the reasons and expected timeline to all parties. Ex. 14, p.

20.



                                                  48
       Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 49 of 54



      251.     QU’s T-9 policy promises its students that it will take steps to prevent the

recurrence of the misconduct and correct its effects. Ex. 14, p. 5.

      252.     QU’s T-9 policy promises its students that it will keep all records, files and

proceedings appropriately private and will share material and information prepared or acquired

under Title IX procedures only as necessary with investigators, witnesses and other relevant

parties. Ex. 12LC, pp. 92, 17-25; Ex. 6MB, pp.118, 11-12; Ex. 4AH, pp. 160, 18-25; 161, 1-25;

Ex. 14, pp. 5, 13-14.

      253.     QU’s T-9 policy promises its students that it will comply with ADA and will

provide reasonable accommodations and modify its programs to permit students to use the T9

procedures. Ex. 14, p. 9; Ex. 61, p. 71; Ex. 50, p. 5.

      254.     QU’s T-9 policy promises its students that it will give the parties the right to

appeal the finding and sanction of the committee, in accordance with the appeal guidelines in T9

policy. Ex. 14, p. 14.

      255.     QU’s T-9 policy promises its students that it will require the Board to assign

appropriate sanctions in accordance with T9 policy (and the (“Code”) Handbook.” Ex. 14, p.

16.

      256.     Complainants are usually females and respondents are usually males in T9 cases.

Def. Ex. N; Ex. 7 (KK), pp. 30, 18-19, 22, 24-25; Ex. 2 (TJ), pp. 91, 18-20.

       257.    Using the word complainant and respondent is the balanced and neutral way to

refer to the parties in a Title IX matter because using accused for a respondent when using

complainant is not balanced and is a more negatively weighted term against the respondent.

Using the word victim is more positively weighted for the complaining party and complainant is

more neutral. Ex. 2, (TJ) pp. 87, 9-25; 88, 1-15; 91, 18-23; Ex. 3 (SK), pp. 210, 1-25; Ex. 7



                                                 49
       Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 50 of 54



(KK), pp. 32, 2-18; Ex. 6 (MB), pp.128, 1-25; 129, 3-11; Ex. 5 (CM), pp.136, 14-25; Ex. 8

(MoD), pp.166, 21-25; 167, 1-17; Ex. 12 (LC), pp. 67, 18-25; 68, 3-25; Ex. 9 (SF), pp. 97, 3-19;

Ex. 2 (TJ), 160, 19-25; 161, 1-12.

      258.     When faced with a possible one-year suspension, which would have made him

lose the tuition and credits for the fall semester and graduate a year later and the prospect of

having to prove his innocence and respond to the voluminous RR, while studying for finals,

Doe’s anxiety escalated causing Doe to get a “D” heightened Doe’s anxiety and depression. Ex.

1VC, Vol. 2, pp. 488, 1-20; 489, 9-16. Ex. 130, ¶29.

      259.     SK was an attorney, a leader in T-IX associations and had years of experience in

student conduct and T9 cases and knew what a litigation hold was and that Doe’s TRO

hearing was taking place and shredded Doe’s Hearing notes and papers, which is against T9 and

QU’s practice. Ex. 1VC, pp.11, 1-17; 16, 7-19; Ex. 2 (TJ), pp.18, 6-25; 19, 1-9; 20, 11-25; 21, 1-

6; Ex. 3 (SK), pp.199, 1-13, 18-20; Ex. 8 (MoD), pp. 70, 9-22; 71, 1-18; Ex. 9 (SF), pp. 17, 15-

22; 186, 11-25; 187, 1-3, 11-21; 193, 22-23; 194, 2-9; 207, 22-25; 213, 16-19; 236, 17-18; Ex.

6 (MB), 146, 19-20; 216, 4-22; 233, 11-13; 240, 25; 241, 1-2; Ex. 5 (CM) pp. 178, 4-25; 206, 9-

13; 232, 20-25; 233, 1; Ex. 65, p. 10-12.

      260.     KK was a state trooper with extensive trial experience, knew she was required to

retain all documents since the TRO hearing and destroyed her notes of the interviews in Inv2,

which is against QU’s practice. Contrucci and Carney preserved their notes for INV1 and INV2.

Ex. 106, Ex. 107; Ex. 7 (KK), pp. 9, 20-25; 183, 8-14; 260, 10-19; Ex. 8 (MoD), pp.70, 9-22; 71,

1-18; Ex. 9 (SF), pp. 17, 15-22; 186, 11-25; 187,1-3, 11-21; 193, 22-23; 194, 2-9; 207, 22-25;

213, 16-19; 236, 17-18; Ex. 6 (MB), 146, 19-20; 216, 4-22; 233, 11-13; 240, 25; 241, 1-2; Ex. 5

(CM), pp. 178, 4-25; 206, 9-13; 232, 20-25; 233, 1; Ex. 12 (LC), pp. 137, 4-23; 179, 3-5, 23-25;



                                                 50
       Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 51 of 54



180, 1-10; 181, 11-12.

      261.     QU Title 9 policy promises it will meet the complainant to inquire about and

finalize complaint after reviewing the complaint. Ex. 14, p. 21.

      262.     Kalagher trained the QU Title IX team to use neutral terms of complainant and

respondent and that language matters. Ex. 88, pp. 9-15.

      263.     QU’s T9 policy used complainant and accused more than 51 times

and used the word victim. Ex. 14, pp. ii, b, 5, 13, 14, 16, 17, 18, 19, 21.

      264.     In Doe’s Response, he requested information about his disabilities and psychiatric

background not be shared with complainants because “it is very personal and I would like it

treated with the utmost confidentiality.” Ex. 22, p. 1. Kalagher replied that if he wanted the

Board to have access to his confidential information, it would need to be provided to the

complaints. Ex. 118, p. 15. Ex 11 (MC), 12, 14-25; 13, 1-9; 25, 23-25; 26, 1-25; 54, 2-11; Ex.

8 (MoD), pp. 134, 4-17; Ex. 1 (VC) 229, 5-23; 230, 16-24; Ex. 3 (SK), pp.71, 5-19.

      265.     On February 24, 2017, Doe again requested that the documents regarding his

disabilities be given to the Board, but not the parties and Kalagher informed him if he wanted the

materials shared with the Board he would have to share them with Roe and Roe2. Johnson and

Kalagher never discussed Doe’s request with Cooper to check with ADA policy and

confidentiality. Ex. 11 (MC), pp. 45, 9-20; Ex. 2 (TJ), pp. 278, 1-25; Ex. 130, ¶45.

      266.     QU assigned a male and female investigator per its practice in Inv1 but

assigned two females in INV2. Ex. 2 (TJ), pp.164, 1-11. Ex. 86; 60.

      267.     QU Investigators will review a Response to a report to see if it materially changed

the report or findings. Ex. 1 (VC), Vol. 2, pp. 493, 1-25; 494, 1-11.

      268.     The RR contained relevant information that Doe never had an opportunity to



                                                 51
       Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 52 of 54



comment on since it was received after his Response. Ex. 1 (VC), Vol. 2, pp. 475, 18-25; 476, 1-

20; Ex. 130, ¶35.

      269.     Members of the T9 have personal experience with sexual violence against

females, victim advocacy roles, affiliations with sororities and pro-feminist orientations that

skewed them in favor of Roe and Roe2. Ex. 2 (TJ), 38, 12- 25; 39, 11-17; Ex. 4 (AH), pp. 87, 3-

25; 88, 1-6, 18-25; 420, 6-21; Ex. 7 (KK), pp. 296, 20-25; 297, 1-7, 18-25; 298, 1-8; Ex. 5 (CM),

pp. 22, 21-25; 23, 1-15; 25, 14-25; 26, 1-5, 16-21; 34, 21-25; 37, 1-16, 19-25; 91, 3-18; 93, 4-25;

272, 12-23; Ex. 8 (MoD), pp. 98, 5-25;99, 1-25; 267, 22-25; 268, 2-6; 16-20; Ex. 12 (LC), pp.17,

11-17; Ex. 9 (SF), pp. 59, 16-20; 71, 1, 3-6; 62, 18-21; 73, 3-14; 74, 2-20; 75, 1-7; 103, 6, 17-25;

104, 1-8; 257, 5-20, 24; 259, 3-8.

      270.     Complainants are usually females and respondents are usually males in T9 cases.

Ex. 7 (KK), pp. 30, 18-19, 24-25; See supra, ¶256.

      271.     After Doe received the RR at the end of October, Doe became increasingly

anxious to go out to QU social events or to go on campus because Roe could easily have

approached him either in retaliation or for the purpose of fabricating more charges against him,

which caused Doe great concern because he felt QU would automatically continue to believe

Roe and more charges would be levied. Ex. 130, ¶¶40, 74.

      272.     QU scheduled a hearing before seeing Doe’s Response and on the first day of

classes, against advice from Cooper, did not even consider Doe’s Response, refused to re-

investigate or answer any of Doe’s concerns, which increases Doe’s anxiety and depression,

causing him to see his psychiatrist to address the unfair investigation of past and ongoing

harassment by Roe. Ex. 130, ¶¶30, 32, 33, 36, 37, 38.

      273.     Roe’s continued breaches of confidentiality and harassment through her friends in



                                                 52
       Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 53 of 54



the spring, approaching him in public places and discussing the IPV investigation, ruined Doe’s

reputation and caused Doe to avoid QU and other places where he thought she or her friends may

be and avoided campus so he would not have to see anyone and explain himself. Ex. 130, ¶¶40,

75; See Ex. 136.

      274.     The extreme stress and anxiety from the continued manner in which QU handled

the investigation is likely to affect Doe’s life beyond his graduation. See Leibowitz deposition. It

interfered with his studies, where he was hoping to have the best grades as he neared the end of

school and was seeking employment, and his contact with friends, classmates and professors

dropped off precipitously as the Hearing approached, leaving Doe anxious, depressed and fearful

for his future. Ex. 130, ¶¶40, 76 and 77.

      275.      Kalagher created training materials on which he trained the T9 team on. Ex.

3 (SK), pp. Depo. 141, 24- 25, 142-151, 155, 20-25, 156 1-10, 133, 8-22; 132, 1-18. Ex. 119,

143, 11-21; 144, 1-18.

      276.     Dr. Jerome Liebowitz testified that the unfairness of QU’s investigations and it’s

refusal to give Doe a fair hearing exacerbated Doe’s depression and stress, leaving him with

ongoing difficulties trusting people. He testified that the trauma from QU’s conduct caused a

severe anxiety reaction in Dan and that his experiences from the investigation and hearing

process will affect him in the future. Ex. 136 (JL), pp. 71, 21-25; 72, 1-14; 78, 3-25; 79, 2-5; 86,

16-25; 87, 2-3; 133, 1-10; 134, 23-25; 135, 1-7.

      277.     The threshold for conducting an initial investigation into a possible violation T9

violation is what the student said could be a possible violation of T9, which is lower than that for

opening a formal investigation. Ex. 7 (KK), pp. 127, 21-25; 128, 1-13; see supra ¶199.

      278.     The investigators in INV2 put a rationale in their report. Ex. 60, pp. 23-25.



                                                 53
       Case 3:17-cv-00364-JBA Document 95-1 Filed 01/22/19 Page 54 of 54



      279.    T-IX requires colleges to follow their policies. Ex. 65, p. 8.

      280.    OCR published additional guidelines to reinforce the rights of the respondent,

which TJ wrote “does not fundamentally change Quinnipiac’s obligations policies or procedures.

See Ex. 126; Ex. 71.




                                               54
